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Debtor In Propria Persona
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA - RENO

IN RE: ) Case No. BK-N-14-50333-BTB
) Case No. BK-N-14-50331-BTB
ANTHONY THOMAS and (Jointly Administered)
WENDI THOMAS ) CHAPTER 7
)
AT EMERALD, LLC ) REPLY BRIEF IN SUPPORT OF MOTION
) FOR JUDICIAL NOTICE OF LAW &
Debtors. ) FACTS IN SUPPORT OF RULE 60(b)(4)

) MOTION TO VACATE VOID 8-22-2014
) CONVERSION ORDER

)

) Date: September 13" 2019
) Time: 10:00 a.m.

) Dept.: Courtroom 2

: Judge: Hon. Gary A. Spraker

 

Debtor Anthony G. Thomas hereby submits the following Reply Brief in
Support of his Rule 60(b)(4) Motion to Vacate Void 8-22-2014 Conversion Order
as follows:

Even though Debtor had the choice to submit his arguments strictly on the
fact that the 8-22-2014 Conversion order is void on its' face, and thus merely
requires an inspection of the judgment roll to determine its' invalidity in light of the
law that establishes the invalidity as can easily be done in the matter here, Debtor
is waiving his attorney-client privilege and has submitted in the accompanying
declaration, a detailed disclosure of the e-mail communications between himseif
and his lawyers that he had engaged to represent both himself and his 100%
owned Nevada LLC, AT Emerald LLC, whose rights to speak were illegally taken
away in violation of established case law, and the Nevada Rules of Professional

Conduct at a critical juncture in the litigation, and in light of the glaring substantive

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REPLY BRIEF IN SUPPORT OF RULE 60(b)(4) MOTION

 
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and due process violations that resulted in serious harm to both himself and his
LLC and the actions of his own counsel and opposing counsel in interfering in the
proposed sale motion submitted to this Court on 6-23-2014, and approved by
Judge Beesly on 7-21-2014, but also the serious harm inflicted by the
intervention of US Trustee Cossett to orally move not to just appoint a Trustee in
this case, but to move to convert Debtor from a Small Business Chapter 11
Debtor in Possession case, to a Chapter 7 liquidation case for himself and his
LLC.

This unlawful act without due process and proper notice and hearing under
the law resulted in significant prejudice to both Debtor and his LLC, depriving
them of the ability to market and sell the emerald and seek top dollar by pitching
the sale to wealthy individuals, and preventing them from realizng the fruits of
their negotiating an amazing contract with the billion dollar a year Overstock.com.
The record shows that the Overstock.com contract that was negotiated prior to
the conversion order was interfered with by none other than Wayne Silver,
attorney for the notorious Tersini brothers of Slavery Towers fame, the very
parties who have brought shame and ignominiy upon themselves for using slave
labor to build their real estate empire and have earned the capitalist pig
designation.

The Tersini brothers have continued to perpetrate a fraud upon the court
from October 5" 2011 when they colluded in the Santa Clara County Superior
Court with Debtor's soon to be disbarred counsel Michael Morrissey to pull the
wool over Debtor's eyes and enter on the record orally before the Court the terms
of a settlement in which debtor did not participate in violation of the rules
governing CCP § 664.6 but also by concealing Thomas's dyslexia from the Court,
not ever giving Thomas the opportunity to actually read a printed copy of the
settlement agreement that was negotiated without Thomas participation and

without having any of the terms of the settlement explained to him either by his

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REPLY BRIEF IN SUPPORT OF RULE 60(b)(4) MOTION

 
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counsel or the Court.

Debtor is submitting the following chronology of facts that is supported by
the Court file and records, as well as e-mail correspondence by and between
debtor and his lawyers and the proposed buyer of the Thomas Emerald by means
of the buy and sell agreement filed for approval by this Court on 6-23-2014, and
that was approved by this Court on 7-21-2014. Before even giving debtor the
contemplated 30 day period to consummate the deal, debtor was stripped of his
debtor in possession Chapter 11 status and effectively sent to the firing squad to
be liquidated, something that the US Trustee crudely alluded to on the transcript
of 8-22-2014, something that even Judge Beesley found to be disturbing to hear.
I. TRACY HOPE DAVIS, REGIONAL U.S. TRUSTEE IN SF FILED THE

MOTION TO CONVERT FILED BY HER TRIAL HEAD COSSETT AND

HER RENO ASSISTANT UST NICK STROZZA UPON THE FACT THAT

THERE WAS NO LIABILITY INSURANCE IN PLACE ON THE

EMERALD, SOMETHING THAT WASN'T NECESSARY IN LIGHT OF

ITS' SECURE SAFEKEEPING AT THE SARASOTA VAULT AND

DEPOSITORY

Attached to the concurrently filed Declaration of Anthony G. Thomas are
true and correct copies of the specifications of the Sarasota Vault showing the
stringent security standards of the Sarasota Vault that did not require obtaining
insurance under the circumstances. Furthermore, there was an agreement
between counsel for Debtor and counsel for John Beach to oppose the US
Trustee’s Motion to Convert, a fact that could have prevented the conversion if
Debtor and his LLC had counsel. Furthermore, it was highly irregular to permit
conversion of the case on 8-22-2014, when the actual US Trustee Motion to
convert was actually on calendar for 9-13-2014. On 7-15-2014, John Beach filed
a limited opposition to the US Trustee Motion to convert, which should have
prevented the Conversion from going forward.

ll. FACTS SOUGHT TO BE JUDICIALLY NOTICED RE: MOTION TO

CONVERT FROM CHAPTER 11 DEBTOR IN POSSESSION CASE TO

CHAPTER 7 LIQUIDATION CASE

4-30-2014 Nick Strozza, Assistant U.S. Trustee and Bill Cossitt, US Trustee

3
REPLY BRIEF IN SUPPORT OF RULE 60(b)(4) MOTION

 
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Trial Lawyer file Motion to Convert case from Chapter 11 to Chapte 7
on behalf of Tracy Hope Davis, Head of Region 19 office in San
Francisco on the grounds that Debtor has failed to Obtain Liability
Insurance in violation of 11 USC Section 1112(b)(4)©

07-16-2016 Deadline to file Opposition to UST Motion to Convert from Ch. 11 to
07-30-2014 Hearing on UST Motion to Convert calendared

05-12-2014 Thomas receives an E-mail with DE27 attached, the UST Motion to
Convert from Chapter 11 to 7 for failure to maintain insurance on the
Emerald and she states:

"Tony and Wendi, Can you please give me an update
on any potential purchase offers on the emerald and on
the trip to Florida. | need to know when the trip will take
place as well as any imminent potential sales. | have to
draft a reply to the US Trustee's Motion to Convert
this case to a case under Chapter 7 of the
bankruptcy code tomorrow. (See Motion attached ~
hereto). As | have discussed earlier, we want to stay in
control of the sale of the emerald. If this case is
converted, a Chapter 7 trustee will be appointed and be
in control of liquidating the emerald.

06-04-2014 Thomas receives an E-mail from Smith Law Firm Holly Estes
stating:

"| spoke with Joseph Went, attorney for John Beach,
esterday. We are both concerned about the US
rustee's Motion to Convert (attached hereto) currently

scheduled for hearing on duly 30, 201%. As | have

stated in the past, | think that it is important, in order to
overcome the US Trustee's position, to come to an
agreement with John Beach, the largest secured
creditor regarding the insurance. Joseph Went informed
me that in order for his client to come to an agreement
on the insurance issue, he would like to go to Florida
and see the emerald. It is important to have this
agreement in advance of the July 30 hearing date so
that we have a good position in opposing the US

Trustee's motion to convert."

THE LAW DOES NOT AUTOMATICALLY REQUIRE INSURANCE,
INSURANCE IS ONLY REQUIRED FOR "FAILURE TO MAINTAIN
APPROPRIATE INSURANCE THAT PRESENTS A RISK TO THE ESTATE OR
TO THE PUBLIC"

Neither provision requiring insurance in this case applies to this case.
Failure to have insurance on the Emerald posed no risk to the public in that the
Emerald was in a first class secured vault in Sarasota Florida, where it had no

interaction with the public.

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REPLY BRIEF IN SUPPORT OF RULE 60(b)(4) MOTION

 
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There was no need for liability insurance to be obtained on the emerald,
since the emerald posed no risk of injury to anyone, while in the locked vault
without even the Vault having access to it. The only risk to the estate would be
as to theft, not liability insurance, and not having theft insurance is not a grounds
to convert from chapter 11 to 7. Arguably, the emerald was more secure without
insurance in the secured Saratoga Vault than in some other facility like its’ current
location in an unsecured garage or other private location without any of the
security, alarm, 24 hour video tape and secured facility with specs to deter any
form of theft.

In re: Jon G. Rosson (2008) - 9" Cir. 06-35724 - 9-24-2008

because a conversion to Chapter 7 takes control of the estate out of the
hands of the debtor, it seriously affects substantive rights and may lead to
irreparable harm to the debtor if immediate review is denied. See Mason
v. Young (In re Young), 237 F.3d 1168, 1173 (10th Cir.2001) (explaining that
“under Chapter 7, once the debtor's assets have been liquidated, it is
virtually impossible to reassemble them, and therefore an order converting
to Chapter 7 is necessarily more final in nature than an order converting to
Chapter 13”);6 ?see also In re Firstcent Shopping Ctr., Inc., 141 B.R. 546,
550 (S.D.N.Y.1992) (holding that “[cJonversion of a bankruptcy case [to
Chapter 7] is final and - appealable” and quoting In re Rebeor, 89 B.R. 314,
320-21 (Bankr.N.D.N.Y.1988) (“[I]mmediate review [i]s necessary to protect
Debtor's substantive rights to reorganize in Chapter 13 and to prevent
irreparable harm through the potential loss of his property sold to good
faith purchasers.”))._ We therefore hold, in accordance with all other
courts of which we are aware that have considered the issue,7 that a
bankruptcy court order converting a case from one under another chapter
of the Bankruptcy Code to one under Chapter 7 is a final and appealable
order.

In this case like that above, Debtor was denied statutorily-guaranteed
procedures when the bankruptcy court converted his case without notice and a
meaningful hearing
“the bankruptcy court erred by converting his case .... to Chapter 7 without
notice and a hearing, as required by 11 U.S.C. § 102(1)(A).”

Section 102(1) of the Bankruptcy Code states that:
"[A]fter notice and a hearing”, or a similar phrase — (A) means after such

notice as is appropriate in the particular circumstances, and such
opportunity for a hearing as is appropriate in the particular circumstances;

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REPLY BRIEF IN SUPPORT OF RULE 60(b)(4) MOTION

 

 
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but (B) authorizes an act without an actual hearing if such notice is given
properly and if — (i) such a hearing is not requested timely by a party in
interest; or (ii) there is insufficient time for a hearing to be commenced
before such act must be done, and the court authorizes such act.

11 U.S.C. § 102(1); see also id. § 1307(c) (requiring "notice and a hearing"
as prerequisite to conversion of a case from Chapter 13 to Chapter 7); cf.
Tennant v. Rojas (In re Tennant), 318 B.R. 860, 870 (9th Cir.BAP 2004)
(holding that "notice and a hearing" are required even where the
bankruptcy court acts pursuant to "its general powers under Section
105(a)"). We have "emphasize[d] that the notice-and-hearing definition in §
102(1) is flexible and sensitive to context.”

Law Offices of David A. Boone v. Derham-Burk (!n re Eliapo), 468 F.3d
592, 603 (9th Cir.2006).

"The essential point is that the court should give counsel
a meaningful opportunity to be heard." Id. (internal
quotation marks omitted).

Here, Rosson correctly points out that the bankruptcy court's initial
August 17, 2005 "hearing" on conversion provided him essentially no
notice, and no “opportunity to present legal argument and/or _
evidence." Id. (internal quotation marks omitted). Although various
motions to convert the case had been pending for months, those
motions were scheduled to be addressed at a September hearing,
and Rosson had no notice that conversion to Chapter 7 would be
addressed at the August 17 hearing on Harris's motion to withdraw.

The Court in In re Tennant held:
the concept of procedural due process requires a notice and an

opportunity to be heard. See Muessel v. Pappalardo (In re Muessel),
292 B.R. 712, 717 (1st Cir. BAP 2003). The term "after notice and a

hearing" is defined in Section 102(1):

In this title —

(1) “after notice and a hearing”, or a similar phrase —
(A) means after such notice as is appropriate in the
particular circumstances, and such opportunity for a
hearing as is appropriate in the particular
circumstances; but

(B) authorizes an act without an actual hearing if such
notice is given properly and if —

(i) such a hearing is not requested timely by
a party in interest;

or
(ii) there is sufficient time for a hearing to
be commenced before such act must be

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REPLY BRIEF IN SUPPORT OF RULE 60(b)(4) MOTION

 
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done, and the court authorizes such act[.]
11 U.S.C. § 102(1).

Thus, the concept of notice and a hearing is flexible and depends on what
is appropriate in the particular circumstance. Great Pacific Money
Markets, Inc. v. Krueger (In re Krueger), 88 B.R. 238, 241 (9th Cir. BAP
1988). A dismissal without notice and an opportunity to be heard would
not be appropriate where substantive issues are to be determined, but if a
case involves only very narrow procedural aspects, a court can dismiss a
Chapter 13 case without further notice and a hearing if the debtor was
provided "with notice of the requirements to be met.” Meints, 222 B.R. at

In re: Tennant
MOVANT HAS TO SHOW CAUSE WHY CONVERSION IS WARRANTED:
The Court in In re: Eck (2010) BK Court CT stated:

Once the movant has established "cause" (as the UST has done
here), the burden shifts to the Debtor to establish the exceptions
provided for by Section 1112(b). See 7 Alan N. Resnick & fend, J.
Sommer, Collier on Bankruptcy { 1112.05 (16 ed. rev. 2009) ("Collier
on Bankruptcy").

Once "cause" has been demonstrated, the Court must convert or
dismiss, unless the Court specifically identifies "unusual
circumstances .. . that establish that such relief is not in the best
interest of creditors and the estate." However, absent unusual
circumstances, the Court must not convert or dismiss a case if (1)
there is a reasonable likelihood that a plan will be confirmed within a
reasonable time, (2) the "cause" for dismissal or conversion is
something other than a continuing loss or diminution of the estate
coupled with a lack of reasonable likelihood of rehabilitation; and (3)
there is reasonable justification or excuse for a debtor's act or
omission and the act or omission will be cured within a reasonable
time.

in re Orbit Petroleum, Inc., 395 B.R. 145, 148 (Bankr. D. N.M. 2008)
(citations omitted; emphasis in original).

Under the circumstances of the case, the Court improperly permitted
Debtor’s existing counsel to withdraw on only 3 days notice at a critical juncture in
the litigation in violation of the Nevada Rules of Professional Conduct, and in
violation of the legal principles in Vann v. Shilleh (copy attached to Debtor’s
Declaration and request for Judicial Notice), as well as the principles enunciated
in Laskowitz v. Schellenberger (copy attached to Debtor’s declaration for which

he seeks judicial notice.

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REPLY BRIEF IN SUPPORT OF RULE 60(b)(4) MOTION

 
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Thomas was severely prejudiced both procedurally and substantively by
the wrongful order permitting his existing lawyers to withdraw from representation
without according him even a 2 week continuance to seek counsel, and in
violation of the principles of the Nevada Rules of Professional Conduct that
prohibit such a withdrawal when the withdrawal occurs at a critical juncture in the
litigation that may severely and adversely affect the litigants rights as is the case
here.

The California Court of Appeals in 1946 stated:

“ There can be little doubt but that in both civil and criminal cases the
right to a hearing includes the fight to appear by counsel, and that
the arbitrary refusal of such right constitutes a deprivation of due
process. oberts v. Anderson, 66 F.2d 874; Powell v. Alabama, 287

.S. 45; Cooke v. United States, 267 U.S. 517; Steen v. Board of
Civil Service Commrs., 26 Cal.2d 716.

Prudential Insurance Co. v. Small Claims Court (1946) 76 Cal. App. 2d 379
a

The U.S. Court of Appeals for the 10" District in Roberts v. Anderson cited above
stated:

“Where the rights of a citizen depend upon the ascertainment of
facts, due process of law requires that he be notified of the hearing
and be afforded an opportunity to be heard. Webster defined the
“law of the land" as "a law which hears before it condemns." In
Windsor v. McVeigh, 93 U. S. 274, there was a proper notice and
appearance, but a hearing was denied. The court held the judgment
was not entitled to respect in any other tribunal; that when a hearing
is denied, the notice is ineffectual for any purpose. In McVeigh v.
United States, 11 Wall. 259, 267, it was said that

“A different result would be a blot upon our
jurisprudence and civilization."

Other cases to the effect that a denial of a hearing invalidates

judgments of courts and decisions of administrative bodies are:
rinkerhoff-Faris T. & S. Co. v. Hill, 281 U. S. 673; Goldsmith v. U. S.

Board of Tax Appeals, 270 U. S. 117, 123; Moore v. Dempsey, 261

U.S. 86.

In Atchison. Etc., Ry. Co. v. United States, 284 U. S. 248, it was held
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"a fair hearing is a fundamental requirement"

of decisions of the Interstate Commerce Commission. In Int. Com.

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REPLY BRIEF IN SUPPORT OF RULE 60(b)(4) MOTION

 
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Comm. v. Louis. & Nash. R. R., 227 U. S. 88, 91, it was held that

"administrative orders, quasi judicial in character, are
void if a hearing was denied; if that granted was
inadequate or manifestly unfair."

The right to a hearing includes the right to the assistance of counsel
of his own choice, if requested. Cooke v. United States, 267 U. S.
517, 537, 45 S. Ct. 390, 69 L. Ed. 767; Powell v. Alabama, 287 U. S.
45. In the case last cited, the Supreme Court said:

"If in any case, civil or criminal, a state or federal court
were arbitrarily to refuse to hear a party by counsel,
employed by and appearing for him, it reasonably may
not be doubted that such a refusal would be a denial of
a hearing, and, therefore, of due process in the
constitutional sense."

Roberts v. Anderson (10" Cir. 1933) 66 F.2d. 874 at 876.

The dissent of Justice Howard of the Supreme Court of Arkansas, in 1978 is
applicable in this case:

“First, the right of a litigant to counsel of his choice is so fundamental

and basic under American Jurisprudence that prejudice is presumed

to have resulted without the Court having to indulge in nice and

dainty fjouaions as to the amount of prejudice arising from its
enial.

FN 3: See: People v. Bryant 4 969) 275 Cal.App.2d 215, [although a
criminal case] the court held that the deprivation of effective

counsel is of sufficient constitutional significance to merit
reversal even without actual prejudice.

McCoy Farms, Inc. v. J M McKee (1978) 263 Ark. 20
CIVIL RIGHT TO COUNSEL

“The United States Supreme Court likewise has recognized the
indispensability of counsel to fair proceedings in civil cases as well.
"Laymen cannot be expected to know how to protect their rights
when dealing with practiced and carefully counseled adversaries..."
(Railroad Trainmen v. Virginia Bar (1964) 377 U.S. 1, 7 [in case
upholding right of union to provide legal assistance plan for its
members].)

What the court has termed an "obvious truth" is buttressed by
empirical studies demonstrating unrepresented litigants rarely prevail
in the same types of civil proceedings where those with lawyers often
do. (See, e.g., Schmertz, The Indigent Civil Plaintiff In The District Of
Columbia: Facts And Commentary (1967) 27 Fed.B.J. 235, 243,
reporting a comparative study of pro. per. and represented civil
litigants where the pro. per. litigants were so confounded by the
procedural complexities that they proved nine times less likely to
achieve a settlement, never succeeded in compelling discovery and

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REPLY BRIEF IN SUPPORT OF RULE 60(b)(4) MOTION

 
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in no case managed to reach a trial on the merits.) (See also Rubin,
Consumers and Courts (1971) P. 109, reporting on a fourcity stud
which found civil defendants with lawyers six times more successful
than those unable to obtain counsel.)

Quail v. Municipal Court (1985) 171 Cal.App.3d 572 fn 8 at 593.

Debtor and his LLC suffered prejudicial harm as detailed in the declaration

of Anthony Thomas filed concurrently herewith and as such the conversion order

was void on its’ face and subject to collateral attack at any time without any

statute of limitations bar.

Dated: August 26" 2019. Respectfully submitted,

 

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REPLY BRIEF IN SUPPORT OF RULE 60(b)(4) MOTION

 
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Anthony G. Thomas

7725 Peavine Peak Court

Reno, NV 89523

Tel: (408) 640-2795

E-mail: atemerald2@gmail.com

Debtor in Propria Persona
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA - RENO

IN RE: )Case No. BK-N-14-50333-BTB
)Case No. BK-N-14-50331-BTB
ANTHONY THOMAS and (Jointly Administered)

WENDI THOMAS
AT EMERALD, LLC

CHAPTER 7

)
)
)
DECLARATION OF ANTHONY G. THOMAS
) IN SUPPORT OF MOTION FOR JUDICIAL
NOTICE OF LAW & FACTS IN SUPPORT
OF RULE 60(b)(4) MOTION TO VACATE
) VOID 8-22-2014 CONVERSION ORDER
AND IN SUPPORT OF REPLY BRIEF

) Date: September 13" 2019
) Time: 10:00 a.m.

) Dept.: Courtroom 2

) Judge: Hon. Gary A. Spraker

)
)
I, Anthony G. Thomas declare:

Debtors.

1. | am submitting this Declaration in Support of my Reply Brief in
Support of my Rule 60(b)(4) Motion to Vacate Void Order of Conversion dated 8-
22-2014, and in support of my Motion for Judicial Notice of Law and Facts.

2. | am submitting these Exhibits inter alia for the express purpose of
showing that | did suffer actual prejudice as well as my LLC suffered actual
prejudice as a consequence of the void order converting both myself and my LLC
from Chapter 11 to Chapter 7, even though the law presumes prejudice.

3. First, | want the Court to take judicial notice of the fact that the
hearing date for the conversion motion was not 8-22-2014, but rather was
originally set for 7-30-2014, but on 7-16-2014, a stipulation was entered by and
between one of my lawyers, Holly Estes and Bill Cossett of the Office of the

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Declaration of Anthony Thomas ISO Reply to Rule 60(b)(4) MOTION

 
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United States Trustee resetting the hearing on the conversion motion to
September 13th 2014.

4. The attached e-mails from my counsel show that there was an
agreement between my lawyers and the lawyer for John Beach to join together in
opposing the US Trustee’s Motion to convert the case from Chapter 11 to 7. See
e-mail from Holly Estes dated 5-12-2014 attached hereto and incorporated herein
by reference..

5. Although the e-mails show that my lawyers were working on an
opposition brief to the US Trustee’s Motion, no such opposition was ever filed.
By permitting the lawyers to withdraw without filing such an opposition on my and
my LLC’s behalf, we were unlawfully converted to Chapter 7 liquidation
bankruptcy and both myself and LLC suffered irreparable harm as a result. We
lost our debtor in possession status, and the ability to sell our assets and run our
affairs without the interference of a trustee, and much worse, without living the
nightmare of having to go through personal liquidation of my personal assets and
that of the LLC. The statement by Wayne Silver that it would not have made any
difference had the Court granted the 2 week continuance to obtain counsel is
patently false.

6. The e-mail correspondence shows that | had 2 buyers for the
Thomas Emerald, one from billion dollar per year online seller overstock.com,
the other one, that is the subject of the attached emails submitted to the Court on
6-23-2014 and approved on 7-22-2014 the sale of which was interfered with by
my own lawyers, who unilaterally changed the sale documents, that | forced them
to reverse on the docket, their illegal attempt to change the $20 million that was
supposed to go into the “AT Emerald Trust Account” under the law firm account
to $70 million. This material change raised alarm bells with my buyer, who
combined with the Judge’s granting a Motion to drill the vault, also materially
interfered with the sale of the Thomas Emerald. (See Exhibit 2, pp. 32 to 34).

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Declaration of Anthony Thomas ISO Reply to Rule 60(b)(4) MOTION

 
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7. Specifically, attached to this Declaration is a true and correct copy of
an e-mail | received from the buyer’s agent Mr. Clarke dated July 11" 2014
wherein he states:

“| am to officially place on record that your Lawyer's proposed

amendments are a direct contradiction to the content and spirit of the

court approved sales and purchase agreement... Therefore please

be advised that unless the Sales and Purchase Agreement can be

fulfilled strictly under the terms of the original agreement, Koyo

Shipping and Trading Corporation will reluctantly be forced to

withdraw from any further interest in purchasing the Thomas

Emerald Matrix.”

In response to Mr. Clarke’s E-mail, | sent an email to both Alan Smith and Holly
Estes, two of my lawyers where | stated:

“Dear Alan and Holly: you have officially jeopardized that sale of that

Thomas emerald see the attached email. | am instructing you to

retract the application order that your firm submitted to the court on

July 9" or 10" your firm did this without my consent or knowledge

and you've officially jeopardize the sale of the Emerald and | will hold

you fully responsible if the sale does not go through, ail terms of the

signed sales agreement and the court approval were being executed

to the T until you interfered.”

The e-mail chain also contains an explanation by Holly Estes, where she
admits that she changed the proposed order so that instead of $20 million going
into the Trust Account administered by her law firm, the number was unilaterally
changed by her to $70,000,000, prompting the alarm bells from the buyer's
representative David Clarke.

8. On July 15th 2014, John Beach filed his limited opposition to the US
Trustee’s Motion to Convert. He cited the unique nature of the transaction in
opposing the Motion. This opposition alone, should have prevented the
conversion of the case from Chapter 11 to 7.

9. If | did have legal counsel, or if my previous counsel actually filed an
opposition brief, | would have provided my lawyer with the attached documents
attached to this Declaration as Exhibit 1 that show that there was very little risk of
theft or loss of the Thomas Emerald due to the high security specifications of the

Sarasota Vault, where the Thomas Emerald was stored.

3

 

Declaration of Anthony Thomas ISO Reply to Rule 60(b)(4) MOTION

 
Oo on oO oO FF W DH —

NM PP PM PD NM PH NY NY ND | | | | | | | | | |
on DO oO FB O DO | CO O DAN DO ON FP WO NYY —- OC

 

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Exhibit 1, page }3 is a notarized Safekeeping Receipt, signed by the
President James Montoney of the Sarasota Vault of the 21,000 carat emerald
appraised at $800 million dollars.

The first page of Exhibit 1 is a copy of the Rental Agreement.

The following page of Exhibit 1 is a copy of the Mercantile Burglary Alarm
Certificate noting the ADT Alarm Service Company servicing the Sarasota Vault.

| am also attaching an application for insurance form that | was provided by
the Sarasota Vault. | am submitting this Declaration to show that | was ready
willing and able to secure insurance if the Court still insisted that insurance was
necessary despite the stringent security features of the Sarasota Vault as
highlighted below. Under these circumstances, if | had proper legal counsel to
make the arguments on my behalf, | should not have been converted to chapter 7
liquidation on the grounds of not having insurance.

The following page of Exhibit 1 is reproduced below to show the extent of
the security features of the Sarasota Vault that show the risk of theft or loss due

to these specifications was close to nil:

4

 

Declaration of Anthony Thomas ISO Reply to Rule 60(b)(4) MOTION

 
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1

 

SECURITY FEATURES :
a , State;

Hievalion Above Sea Level

SARASOTA Vault Depos

. Sarasota, Florida ot
--BivSeet, NON FLOOD ZONE AREA “+

 

Distance to Water

"4 -mnile to protected

 

 

Distance to Police Deperiment

Intercoastal ot
2Gity Blocks ONLY ft

 

ae ee ee Zoned;

asinceeeenetentantnetcneemnannanimeniemmione ta

Exterior Gonstruction Type ‘

“Exderior Watis)

Distance to Fire Department Less Than 1.5-Miles:_

__. . Square Areai

a Bissinecs t District
/ ‘Approx 5,000-square feet __ Ga

to ee wt.

 

 

 

 

 

 

— ~ oom cS 3 i 438" thi 5 St ay Reinforced Co nore oe ance
a Floor] 13*-thick, Steel Reinforced Concrete
__ Doors| Steel, Bullet Resistant LEXAN Glass =
oe _.___Locks| “de Electric Power, Battery Back-up
_ co a 1 14"-Builet Resistant LEXAN Glass

 

interior Construction Type _

Main Access Vault Room Doors

~Jrner Vault Wal iit Wal Areas} 7 thick,
Interior Divider Walls:

 

oo. eae
: . : flees Severna

oes

individual Vauit ‘Construction “*

 

interior Doors! ;

~~" Painted Concrete or Camet
; _ @)in Office Ares

 

"Individual Vaull Walls)”

18" thick, Reinf. Concrete or 3/8°-Steel —

 

Individual Vault Doors;

 

 

Environmental Control System |
AC and Humidity Goatrotsi

 

dividual Vault 1 Vault Door ‘Locks! S| Single Comb. | ‘Lock Sets or Double Keyed :

‘ “Mulfipie Zoned AC, Humidity and Hygrometers :

“Shr Bank Type Wali-Thru or 3/8"-Steoi |

 

 

 

 

 

 

 

__24-hr Monitoring by UL Listed Central Station:

Burglar Alarm System oe
Multiple Zone, sToged Aili, Balan BSGU oe ee. YES es
__. __ifffrared Motion Detectors; YES .

_ Vibration Detectors : YES ee

Smote-Heat Detectors: YES vot

 

 

 

“2a fy Monitoring by by UL Listed Central Station:
“Suppression fon Sprinkler § n Sprinkler System)

Security’ Personnel —

Closed Circuit Video Sys wi Time-Lapse VCR's. -

pared Tana Dik Pree ~~

Fire Alarm | System ~ _ ~~ ae oe — oe ~ ~ an
: _ Smoke Detectors: YES” :
Rate of Rise Heat Detectors YES

”__YES, tied to Main Fire Alarm System
YES

; Fine Extinguishers Throughout! YES
OT Fire Hydrant Gn Premises" ” ~ ;

YES —

YES, Class D, ‘Gand W License

 

kk Secunty Monsoring Room
Entry Procedures:
LLL 1 Signature Gard Required:
___ ~~. —Signatute Card Required:

“WD Checked Beiore = Extering!”

Entrants M MUST Surrender Drivers License-Passport:

. ~ Drive in Security Bay & Man Trap’

 

—“iiiléiior Entry Man Trap. .

YES, Entry ONLY Thr Man Trap,

REQUIRED
YES

5

Exhibit 1

| Declaration of Anthony Thomas ISO Reply to Rule 60(b)(4) MOTION
Oo On OO OHO FF WO NYO =

RO Rd BRO RO RO PRO PO DN HD F- | S| BSB Ba Za = ms me om
Oo nN DD NO FPF WHO NYO FHF 320 O DBnN DW OF FP WO NY —|— OO

 

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10. The fact that my lawyers were permitted to withdraw at a critical
juncture in the litigation without filing the opposition brief left myself and my LLC
without counsel to argue the merits of arguing that there was no need to obtain
insurance in light of the stringent security features of the Sarasota Vault.
Furthermore, if | had legal counsel, they would have been abie to hold John
Beach's lawyers to their position stated in their limited opposition brief they filed
on 7-15-2014, as weil as holding them to their agreement to oppose the Trustee’s
Motion.

11, In any case, it was highly improper to allow the US Trustee Bill
Cossett to just orally argue to convert AT Emeraid LLC and myself to Chapter 7
liquidation bankruptcy, without legal counsel and prior to the actual calendared 9-
13-2014 Motion on the matter.

12. Exhibit 3 is a true and correct copy of the Wall Street Journal article
published on 6-30-2014, that identified the sales price of $200 million.

13. Exhibit 4 is a true and correct copy of the 9" Circuit 1952 case of
Laskowitz v. Schellenberger (1952) 107 F.Supp. 397 for which Debtor

respectfully requests that this Court take judicial notice of that states:

 

“Said defendant consents to the withdrawal by a document bearing
its seal filed with the Court. The Court does not consent to the
withdrawal of attorneys. Approval would leave a corporate defendant
without representation. Even if a defendant assumes to.
represent himself, he must either enter his first appearance in the
case in propria persona or be substituted for whoever appeared as
his attorney. Defendant appropriately does not offer to do this
because, being a corporation, it is without capacity to either
represent others or itself. For authorities discussing the principles
involved, see cases cited to support the following quotation from
Cai.Jur. Ten Year Supplement, 1949, Revision, Vol. 9, Sec. 15, p.
448, where the applicable rules are stated as follows:

"Since a corporation cannot practice law, and can onl
act through the agency of natural persons, it follows that
it can appear in court on its own behaif only through a
licensed attorney. It cannot appear by an officer of the
corporation who is not an attorney, and may not even
file a complaint except by an attorney, whose authority
to appear is presumed; in other words, a corporation
cannot appear in propria persona. A judgment rendered

6
Declaration of Anthony Thomas ISO Reply to Rule 60(b)(4) MOTION

 
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PO PR DN PDP PN PO NYO NY NO - | | FP FP Ff FF Fos —h6 >
on OD OO FB WHO DB |= OO OO A NDOT F WwW NY |= O

 

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in such a proceeding is void."

In any event a withdrawal of attorneys is not the proper

the method of changing representation’ The purforted withdrawal

of attorneys is disallowed. [Emphasis added].

14. Exhibit 5 is a true and correct copy of the California Court of Appeals
case of Vann v. Shilleh (1975) 54 Cal.App.3d 192 that Debtor respectfully
requests that this Court take judicial notice of.

15. Exhibit 6 is a true and correct copy of the Amended Motion to
withdraw as attorney filed on 8-19-2019, just 3 days before the hearing to
withdraw. This was highly irregular and there was no showing of exigent
circumstances in support of the Ex Parte Application for an Order shortening
time. Furthermore, it is clear that the withdrawal was done at a critical juncture in
the litigation and that contrary to the assertions made in the motion, granting the
motion to withdraw without having the law firm prepare the opposition brief to the
Trustee’s Conversion Motion, resulted in irreparable harm to both myself and my
LLC. Also, it is clear that my attorneys concealed the real reason for the dispute
between us, namely their attempt to unilaterally change the deal terms for the
sale of the Thomas Emerald by having $70 million instead of the agreed upon
$20 million transferred into their attorney-client trust account.

16. Exhibit 7 is a true and correct copy of my attorney’s petition to
approve compensation. The relevant billing statements attached to this Exhibit
show that my lawyers billed time for reviewing the US Trustee’s Motion to
convert, yet did not file the opposition to the US Trustee Motion as they promised,
which severely prejudiced my and my LLC’s rights. Had that motion been filed, it
would not have been possible for the conversion to have occurred, and | would
not be in the predicament that | have been in since the illegal conversion order
made without the benefit of counsel, and without the benefit of the legal

opposition brief that my lawyers promised to file but never did before they were

7

 

Declaration of Anthony Thomas ISO Reply to Rule 60(b)(4) MOTION

 
oO On Oo oO FF W NY =

Ph PO PO NYO DO LH KN KN NO FSF FP Fe BF Pe Fe Fe Fe 7 FB
on OO oO BF WD MYO = 90D O WAN DO a F Ww NY = O&O

 

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allowed to withdraw from the case, a withdrawal that was done only 3 days
notice, in violation of both my personal as well as the LLC’s due process and
constitutional rights.

Specifically, these billing statements show an entry for 5-6-2014 “Review
OUST motion to convert case to chapter 7 for not having insurance” Another
entry on 6-4-2014 “Review OUST motion to convert case to chapter 7 for not
having insurance” 7-15-2014 - 7-16-2014 more than $600 billed regarding the US
Trustee’s Motions to convert.

The above facts show conclusively the prejudice that both myself and my
LLC suffered as a consequence of the void conversion order. | therefore
respectfully request that my motion to vacate the void conversion order of 8-22-
2014 be granted.

| declare under penalty of perjury of the laws of the State of Nevada that

the foregoing is true and correct.

Dated: 8-26-2019. | hemp)
nthon . Hnhomas
e

btor In Propria Persona

 

8
Declaration of Anthony Thomas ISO Reply to Rule 60(b)(4) MOTION

 
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Exhibit 1

Exhibit 1
Case 14-50333:g5 Doc547 Entered 09/03/19 : Y 55 Pagé 20 df Bay SY!

 

 

 

 

RENTAL AGREEMENT
Ca k -
SARASOTA VAULT DEPOSITORY, INC. Tenant’s Name Act t ans ~f tho Mas 7
640 S, Washington Blvd., Suite 175 Address Phone OR “GYO - ATF
Sarasota, FL 34236
(941) 954-9003 ‘City State
This rental agreement is made between Sarasota Vault Depository, Inc. (landlord) and Ante asf Thom 45 (Tenant)

Tenant hereby rents from the Landlord Box No.2 4S _ oma V4 to Vray basis beginning S793 _ 2003. The rental
agreement is automatically renewed until ether the Tensnt or the Lfndiord terminaiés the agreement, ts outlined in Pamgraph 3 & 5, of the

agreement.

186 e Car .

1. Rent. The rental rate is $ pe payable in advance on the first day of each rental month or period. The
minimum initiel rate period is one fear ; thereafter, automatic renewals are for periods of one, and there will be no refunds if
the Tenant terminates prior to the last 6 y of the final period. All foes are due the 1" day of the month due. If paid after the 7" a 10% penalty
fee is due.

2. Keys. Landlord now delivers to Tenant two keys to the Box. Tenant agrees to immediately notify Landlord if either key is lost and will pay
Landlord the cost of replacement and aity repeirs necessitated by forceful opening of the Safe Deposit Box door. A $30 key deposit for a
Tegular account and a $75 deposit for enonymous account is required to assure the return of both keys. This key deposit will be refunded
when Tenant returns both keys & signs out. ,

3. Termination. Tenant-agrees that the only way Teuant can terminate this rental agreement is to-empty the box, return both keys, and sign
out with no refund of the unused reat. Landlord reserves the. right to terminate this agreement upon thirty- GO) days written notice to
Tenant. Upon such notice the Landlord will refiind the unused rent after Tenant empties the Box, returns both keys and signs cut.

4. Use and Qecupancy. All propetty kept, stored or maintained in Storage by Lessee shall be at Leasee’s sole risk Lessor not a
warehouseman but merely leasing space to Lessee. Lessor shall not be Hable for personal injuries, property damage or loss from theft,
vandalism, fire, earthquake, flood, water, leakege, wind, rain, dampness, explosion, temperature change, freezing, humidity, leadage,
vermin, insects, rodeata, damage to or collapse of buildings, lawful seizure from any Socal, stnic, or federal agency or any other causes
whatsoever, except for losses from occasioned by tha willful acts of gross negligence of Lessor and then only up to a maximum of $ 100.00.
Lessor carries no insurance, which in any way covers any loss that the Lessee may have or claims through this lease. Lessee should secure
its own insurance to protect its property agains? all perils. Any Insurance, which may be carried by either party, shall be for the sole benefit
of the perty carrying such insurance. Each party hereby waives its right and the right of its insurer of subrogstion agsinst the other party.
Tenant has full rights to privacy, end Landlord does ngt want to know the nature, quantity, quality or value of the Cantents of the Box.
Tenant agrees that the Contents placed in the Box will be non-hazardous, non-flammable and uon-perishable, This agreement is not
intended to, nor does it in any way, create a bailment between the parties except in accordance with paragraph 5.

5. Enforcement. Tenant understands and egrees that Landlord shall have a lien on the Contents for all rent and other charges duc hereunder.
Tenant will be in default of this agreement if Tenant fails to pay the rent or other charges when dus. Landlord will have the righ! to deny
Tenant access to the Box until the default is cured. If, after ressonabic notice is mailed to Tenant, the default should continue for six (6)
months past dae, Landlord will have the right to forsee open the Box and remove the Contents which wil] become the property of the
Landlon Tenant will bb responsible for the expenses incurred in the enforcement of the agreement.

6. Insurance: Tenant acknowledges that the Landlord does not have custody, and control of the Tenant’s Contents and Laniond is Therefore
not responsible for the Contents. Tenant accepts all sisks or logs to his Contents, including the risk of ‘fire, water, storm, theft, or default
by the Tenant. Tenant agrees that be has been advised that no Insurance is carried by the Landlord on Tenants Contents, and that Tenant
should Purchase Insurance through Tenants agent.

x Z f Acknowledgement by Tenant
7. “Co-Tenancy. No one other then the Tenant will have access to the Box, unless the Tenant desires to have Vo-Lenants, if more then one
Tenant signs this agreement, each will be considered a Co-Tenant, and each Co-Tenant individually will bave control of and acosss to the
Box. Landlord will not require more then one Co-Tenant to sign in for access to the Box. Each Co-Tenant will individually have all the
rights and obligations of the Tenant listed in this agreement. Each Co-Tenant will be allowed to name individually Co-Tenants. Landlord
will consider cach Co-Tenant to be the owner.of all the Coutents and in the event any Co-Tenant dies, the other Co-Tenant will have the
tight to withdraw all or any part of the Contents.
8. Miaceltencous. (a} Tenant agrees to notify Landlord of any change of address, Landlord shail not be held liable for any loss resulting from
Tensuts failure to notify Landlord as required m this agreement.
(Landlord reserve the ight to prevent the witha of the Cont ual any application State or Feder tx have
with.
(Tir seme te compe gon etn anor an Te any ion nt be man wring

and signed by both parties.
sate

L,
In Witness Whereof, this rental agreement has been duly executed this o)~? day of tS nil» Sars
}

 

 

SARASOTA VAULT DEPOSITORY, INC, . vf f /, f
, By.” bone Wainy fs fSengei "Z£ a
! Agent for Landiord “scat ¥ ‘Signamte "
Tenant's Approval of Co-Tenancy Date Co-Tedant's Signature
,
fan

Exhibit 1

-10-
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11 xhibit
 

SECURITY FEATURES: 0333- bee : SARASOTA DNS pol

en ne cee emi a Blt eee cerning ae

_ Sarasota, Florida 2 £
ee ‘Distance to Water} “mile f protected Intercoastal _
Distance to Police Deparimentj ‘2-City Blocks ONLY =~,
| Distance to Fire Department Less Than15 Miles; VES
cee oe — Business ss Distict

aan —Seuare Ares!” «Appr 5.000-square feet

 

 

 

Exterior Construction Type ' a ian ce, . need
— a : 48” thick, Steal Reinforced Gonaiats “{
_ Ceiling; _18%-thick, Steel Reinforced Concrete |

 

Interior Construction Type Soe
~~ inner Visit Wie Ares 18" thick, Steel Reinforced Concrefa

 

 

 

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ce a re henna acne pee ee Eee eB cme ge tein Lb hn rere eo Mere

Interior Divider Walls: 1/2°-Drywall, 2x4 Constructon

 

 

 

 

- Main Access Vauit Room Door Locks: Combination Locks wi Time Locks i
he interior Doors: _, Solid CoraWood =

ting! == Fluorescen i

Sk Res on 2yin Oot Aes oe

 

 

indlividinal Vaan ‘Construction ,
jacivvidisal Wendi Wells 48" thick, Rain€ Concrete or 5Steel :
individual Vault Doors 3-hr Bank Type Walk-Thru or 3/8*-Steoi 5

individual Vault Door Locks! Single Comb. Lock Sets or Double Kayed

 

 

 

 

 

 

rm Pe nr Fate a inte a

Environmental Control System : ae oF

. AG and Humidly Contos! ee Yes
"Multiple Zoned AC, Hurnidity and Hygrometers: = YES

‘Temperaiwe Monitored at} Degrees
Hieiy Mentored a

Burglar Klarm System see seen smcaeeat
se, Tid iin BS Tp do eee YES

 

 

Sette ate ame =

 

we tee sen . cone nee ee

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Vibration Deisciors; VES a
Smole-Heat Detectors: . _ YES oo. ot
24-br UL Listed Central Station: ves
Closed Circuit Video Sys wi Time-Lapse VCR's: - ____ 16-Cameras _ ;
Fire Alarm System a _ _ ; oo
Cn Senne Detectors’ YES :
_., Rate of Rise Heat Detectors. YES
: "Z2-is Monitoring by UL Listed Central Station: YES 2
Suppression Sprinkler System WEB, pte tein hs Erte -
“Fire Hydrant On Premisesi YES
Security Personnel ==SSSs—=—~—SSSC ~
ores ’"Anned Guards On Premise! ~ eS: Glass 5, Gand W License
ee ____Secisity Monitoring Room! YES, Manned During Operating Hours _ .
Entry Procedures : ; oe
a  “fhferior Entry Man Trap| =: YES, Entry ONLY Thr Man Trap
oo ee
oo Photo DRequred ES ok
- Bisel las ee REQUIRED S
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Exhibit 1
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SARASOTA VAULT DEPOSITORY
“SAFEKEEPING RECEIPT

4

 

 

SAFEKEEPING CERTIFICATE NUMBER-SECURITY CODE:
_ SVD*ATHOMEMERLLC*(1)-001

DEPOSITORY NAME: Sarasota Vault Depository, Inc.

ADDRESS: 640 Washington Blva., Suite 175, Sarasota, FL 34236 USA
OFFICER: James Montoney, President

TELEPHONE: 941-954-9003 FACSIMILE: 941-330-9583

IONE Lea ne :

DATE OF ISSUE: July 25, 2008 DATE OF RELEASE: Twelve (12) months

  
   

We hereby confirm in accordance with our current lease agreement with our
client, Anthony G. Thomas DBA AT Emerald LLC, has deposited with us,
1 Emerald-in-Matrix (se¢ attached list), and this Asset has been placed in our
custodial safekeeping vaults under the Safekeeping Certificate Number-
Security Number: SVD*ATHOMEMERLLC4(1)-001.

TOTAL NUMBER OF ITEMS: One (1)

4
a!

TYPE OF ITEMS: One Emeratd-in Matrix weighing approximately 4200. _
grams (21,000 carats). ,

q

CONDITION: In accordance with Owner's Condition Report(Copy on file

 

in Depository).
| j 3 : ITEM VALUE: Based upon an appraisal (copy on file in Depository) for
: = e the amount of Eight Hundred Million USD (5 800,000,000 USD).
@ a With the authority and signature below, we stand ready to confirm safekeeping
ae by telephone or facsimile, to any inquiring bank, or authorized representative,
cB : and will transfer this Original Safekeeping Certificate with written approval of —..
we: our Client.

For and on behalf of SARASOTA VAULT DEPOSITORY, INC.

 

ames Montoney, President

 

 

Exhibit 1

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G2 ZURICH

WARRANTY APPLICATION FOR JEWELERS BLOCK COVERAGE

The signing and delivery of this application does not obligate the applicant to purchase nor any insurance company to
provide jewelers block coverage. However, this warranty shall be a basis for issuing jewelers block coverage. A signed copy
of this proposal and any supplemental! pages, when applicable, will become part of the policy.

PLEASE COMPLETE FOR EACH SUBMISSION
PART A - GENERAL INFORMATION

 

1) First Named Insured: AT Emerald, LLC
2A) Mailing Address: 16255 Denali Drive

 

 

2B) City Morgan Hill 2C) State Ca 2D) Zip Code 95037
2E) Phone Number (408) 640-2795 2F) E-Mail Address atemerald@gmail.com

2G) Business Type: (]Corporation Limited Liability Corporation (JLimited Liability Partnership
C] Partnership (J Individual / Sole Proprietor

3) Does the Applicant own any other Jewelry Businesses not included on this application? [Yes —] No

 

 

 

 

 

 

 

3A) If yes, please explain why the coverage is not being submitted at this time:

 

4) Has any insurance company ever canceled, refused to issue, or refused to continue insurance of the
type for which you are applying? (Missouri applicants are not required to answer this question.)

ClYes IX] No

4A) If yes, please explain:

 

 

5) Year Business was established or acquired by current owner? 2001
6) Percentage of sales: RetailN/A% Wholesale N/A% Manufacturing NIA%

7) ls Jewelers Block coverage for this Applicant currently written through the Agency? []Yes [XJ No

 

 

 

 

 

8) ls the Applicant a member of the Jewelers’ Security Alliance? []Yes [x] No

 

9) Princi Officer Information
Name Title
Anthony G. Thomas President

 

905710 ED. 11-04 1

Exhibit 1

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PLEASE COMPLETE FOR EACH SUBMISSION

10) Prior Carrier Information
PRIOR CARRI PREMIUM

one

 

11) Loss History - Please list any claims or occurrences that may give rise to a claims within the last 5
ears

Date of Loss | Amount Paid Descri of loss
None

 

 

11A) Please describe actions taken to minimize a reoccurrence of the above loss(es):
N/A

 

 

12) General Description/ Comments:
21,000 Carate Emerald

 

 

 

9C5710 ED. 11-04 2

Exhibit 1

-15-
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PLEASE COMPLETE FOR EACH S ISSION

PART B - POLICY LEVEL COVERAGES AND LIMITS

 

 

 

 

 

 

 

 

 

 

 

 

 

1A) Property in transit Prior Year Total shipped Values
(Shipping) by Armored Car Limit$ NIA $

1B) Property in transit Prior Year Total shipped Values
(Shipping) by Registered Mail excluding amounts under
(Excess of $25,000 which is Limit $ N/A $25,000

covered by USPS) $

1C) Property in transit Prior Year Total shipped Values
(Shipping) by Federal Express Limit $ NIA $

(FedEx)

1D) Property in transit Prior Year Total shipped Values
(Shipping) by United Parcel Limit $ N/A $

Service (UPS)

1E) Property in transit (Shipping) Prior Year Total shipped Values
by Express Mail Limit $ N/A $

1F) Property in transit Prior Year Total shipped Values
(Shipping) by Courier # 1 Limit $ $

Name of Courier #1: N/A

1G) Property in transit Prior Year Total shipped Values
(Shipping) by Courier # 2 Limit $ $

Name of Courier #2: N/A

 

 

 

2) Property in a safe or vault of a Bank, Trust, or Safe Deposit
Company (NOT IN YOUR SAFE OR VAULT) Limit $ 800 Million

Name of institution:

3) Property at the premises of another jewelry business
(Coverage is secondary) Limit$ N/A

4A) Property in the custody of employees, officers, principles or
sales representatives while away from the described premises | Limit $

 

 

4B) Number of employees who carry less than $25,000 while away
from described premises: NIA

 

 

4C) Employees Name: Maximum limit for this person

who carry 1) NIA $

$25,000 or more 2) $

away from 3) $

described 4) $

premises 5) $
6) $e
7) $_
8) $_
9) $e
10) $_

 

 

 

5) Deductible for the above coverages:
(1$1,000 (1) $2,500 [] $5,000 ([1$10,000 ((] $25,000 [] $50,000 [xj $100,000

 

 

 

 

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PLEASE COMPLETE FOR EACH LOUATION
PART C - LOCATION INFORMATION LOCATION #

 

1) Street Address
City State Zip Code

2) Usual Business Hours: Open - [|]AM L]PM  Close- L|AM L] PM
(JAppointment Only [Seasonal

3) Does the Applicant share the premises with any other business: (_]Yes []No

If no, skip to question 4.
3A) If Yes, please describe the other business(es) including name(s) and relationship to Applicant:
(Please describe thoroughly.)

 

 

 

 

 

 

 

3B) If yes, who controls entrances/exits, security, controls, and alarm system?

 

3C) If the Applicant shares the premises with any other business, does the Applicant have a separate
safe with its own alarm? [] Yes [_]No

3D) If Yes, please describe the Alarm system:

 

 

3E) If No, please explain:

 

4) Minimum number of employees, officers or owners on premises at any time: . Hf limit of
coverage is less than $150,000, skip to question 5.

4A) Does the Applicant agree to have at least 2 employees on premises during business hours
(including opening and closing)? ] Yes [] No

 

 

 

5) Years in business at current location:

6A) How often does the Applicant perform a physical inventory?
([] Weekly (| Monthly (] Bi-Monthly (J Quarterly ((] Semi-Annually (_] Annually ((] Never

 

 

 

 

7) Date of last Physical Inventory (mm/dd/ccyy) 9A) Actual amount of Jewelry DO
NOT
(include all Jewelry) $ ROUND
8) Date of prior Physical Inventory (mm/dd/ccyy) 10A) Actual Amount of Jewelry DO
NOT
(include all Jewelry) $ ROUND

 

3) Maximum total value of all jewelry during the last twelve (12) months on premises:

$

10) Percentage of Merchandise with a value of less than $100 per item: %

 

 

11) During last 12 months: Estimated average daily amount of other people's jewelry in the Applicant's
care, custody, or control on Applicant's property: $
12) Does the Applicant maintain detailed records of other people's jewelry? (| Yes [_] No
13) During the last 12 months: Estimated average daily amount of memo/consignment jewelry on
Applicant's property: $
14) Any Loss Payees? [|] Yes. [No If yes, complete 14A — 14D. If no, skip to section D.
14A ) Street Address of Loss Payee

 

 

 

 

 

 

 

14B) City of Loss Payee 14c) State of Loss Payee 14D Zip Code of Loss Payee

 

 

 

 

 

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PLEASE’COMPLETE FOR EACH LOCATION
PART D - COVERAGE AND LIMITS AT LOCATION #

 

 

 

 

 

 

 

1) Stock on premises (including property of others) Limit $
2.1) Amount to increase Stock Limit during Peak season({s)

Start Date (mm/da) Stop Date (mm/dd) by Limit $
2.2) Amount to increase Stock Limit during Peak season(s)

Start Date (mm/dd) Stop Date (mm/dd) by Limit $
2.3) Amount to increase Stock Limit during Peak season(s)

Start Date (mm/dd) Stop Date (mm/dd) by Limit $
2.4) Amount to increase Stock Limit during Peak season(s)

Start Date (mm/da) Stop Date (mm/dd) by Limit $
2.5) Amount to increase Stock Limit during Peak season(s)

Start Date (mm/dd) Stop Date (mm/dd) by Limit $

 

 

3) Deductible for the above coverages:
[1] $1,000 (]$2,500 (1$5,000 (] $10,000 [] $25,000 (] $100,000

 

PART E - DISPLAY WINDOW INFORMATION (if coverage is desired)

 

1) Number of Display Windows used for displaying jewelry for window shopping:

 

1A) Are the windows made of burglary resistant (NOT laminated safety) glass? [1] Yes [] No

 

1B) Are there showcases inside the window? [[] Yes [] No

 

1C) Is there grillwork covering the windows at all time? [] Yes [] No

 

1D) Highest Value in a single window during business hours | $

 

 

 

1E) Total Limit for all window displays during business hours | $

 

1F) Is coverage to apply during non business hours? [] Yes [] No

 

1G) Highest value in a single window during non business hours? | $

 

 

1H) Total Limit for all window displays during non business hours?

 

1J) Deductible for the above coverages:
[1 $1,000 [) $2,500 ([] $5,000 [-] $10,000 [(] $25,000 [] $50,000 (_] $100,000

 

PART F - SHOW CASE INFORMATION

 

1) Number of show Cases inside premises:

 

2) Are showcases locked during business hours except when the show case contents are actually
being removed or replaced? [_] Yes [_] No

 

 

3) What type of locks on each showcase? [7] NoLock []Snaplock [_] Key Lock [[] Other
Describe if Other:

 

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PLEAS MPLETE FOR EACH LOCATION
PART G- ALARMINFORMATION LOCATION # ___

 

1) What type of surveillance is in operation at this location?
[-] Cameras [] Closed Circuit TV (CCTY) — Monitoring Only
[x] Closed Circuit TV (CCTY) — with Recording [] No Surveillance

 

2) Which of the following are in operation (select all that apply)
[_] Metal Roll-down Gates []lIron Gates or Bars [_] Locked Door Buzzer Entry [(] Man Trap
[_] Bullet Proof Exterior Glass [] Dedicated Armed Guard [] Dedicated Unarmed Guard

 

3) Does this location have a U/L BURGLAR ALARM CERTIFICATE with a certificate number
beginning with 'MR' or 'BC'?
[] Yes - Please complete question 4 (below) [] No - Please complete question 5 (below)

 

4) UL Certificate Number: 4A) Certificate Expiration Date (mm/ddi/ccyy)

 

 

 

 

4B) Alarm Service Company: ADT AND DEHART

 

4C) Premises — Extent of Protection []2 [13 [14 [I Not Shown

 

4D) Safe #1 — Extent of Protection ([] Partial [] Complete [_] Not Shown
Safe #2 (if applicable) - Extent of Protection [] Partial [-] Complete [[] Not Shown
Safe #3 (if applicable) - Extent of Protection [[] Partial [] Complete ((] Not Shown
Safe #4 (if applicable) - Extent of Protection [_] Partial [-] Complete [[] Not Shown
Safe #5 (if applicable) - Extent of Protection [_] Partial [[] Complete ((] Not Shown

 

4E) Vault #1 — Extent of Protection [1] Partial [|] Complete [] Not Shown

Vault #2 (if applicable) - Extent of Protection [|] Partial (_] Complete [(] Not Shown
Vault #3 (if applicable) - Extent of Protection [ Partial [_] Complete (| Not Shown
Vault #4 (if applicable) - Extent of Protection (_] Partial [_] Complete [(] Not Shown
Vault #5 (if applicable) - Extent of Protection [_] Partial [] Complete [(] Not Shown

 

4F) Alarm Transmission Method: (select all that apply)
["] Broadbandi/Internet ([_] Cellular [_] Derived Channel [_] Digital Communicator [] Direct Wire
(] Multiplex [] One-way Radio [(] Two-way Radio [[] Satellite [_] Other
Describe if Other:

 

AG) Line Security: [Xj Standard [] Not employed

 

 

4H) Alarm investigator Response:
Minutes Runner(s) With Keys Without Keys (] Not Shown

 

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Location #

 

5) Alarm Company ADT AND DEHART

 

5A) Alarm Company Representative/Contact Name: 5B) Phone Number
(____)

 

 

 

 

5C) Primary Method of Signal Transmission to Central Station:
(] Broadbandiinternet [x] Cellular [Xj Derived Channel [7] Digital Communicator [] Direct Wire
[] Multiplex ["] One-way Radio [_] Two-way Radio [(] Satellite [] None [_] Other
Describe if Other

 

5D) Backup Method of Signal Transmission to Central Station:
(-] Broadband/Internet [<q Cellular [] Derived Channel [7] Digital Communicator [] Direct Wire
[] Multiplex [] One-way Radio [] Two-way Radio [Satellite [None [_ Other
Describe if Other

 

5E) Are Opening and Closing Signal supervised by the Central Station? kJ Yes [[] No

 

5F) Are all accessible openings (doors and windows within 18 feet of the ground) protected by contact
sensors? [XJ] Yes [] No

 

5G) If No, please explain:

 

5H) Please describe areas of the interior that are NOT protected by motion detectors:

 

 

 

51) What equipment is in operation on each safe?
Safe #1 - [XJ Contact Sensors [] Proximity Device/EVD [x] Motion Detector [] None
Sate #2 (if applicable) -[_] Contact Sensors [] Proximity Device/EVD [_] Motion Detector [_] None
Safe #3 (if applicable) -[_] Contact Sensors [] Proximity Device/EVD [_] Motion Detector [_] None
Safe #4 (if applicable) - [_] Contact Sensors [_] Proximity Device/EVD [] Motion Detector [_] None
Safe #5 (if applicable) - [_] Contact Sensors [_] Proximity Device/EVD [_] Motion Detector [_] None

 

 

5J) What equipment is in operation on each vault?
Vault #1 (if applicable) - (K] Contact Sensors [_] Proximity Device/EVD [XJ Motion Detector [_] None
Vault #2 {if applicable) - [_] Contact Sensors [_] Proximity Device/EVD [_] Motion Detector [| None
Vault #3 (if applicable) - (_] Contact Sensors [] Proximity Device/EVD [[] Motion Detector [_] None
Vault #4 (if applicable) -[_] Contact Sensors [_] Proximity Device/EVD [_] Motion Detector [| None
Vault #5 (if applicable) - [[] Contact Sensors [_] Proximity Device/EVD [_] Motion Detector [7] None

 

5K) Does the Applicant have a regular maintenance/service contract with the alarm company?

Kl Yes []No

5L) If yes, please indicate frequency of alarm inspection:
[]Weekly []Monthly [1] Bi-Monthly [] Quarterly [] Semi-Annually [] Annually [_] Other

Describe if Other:

 

 

 

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PLEASE'COMPLETE FOR EACH LOCATION
PART H - PREMISES VAULT INFORMATION LOCATION #1

 

1) Does this premises have one or more ‘walk in’ vaults? [x] Yes [] No
If yes, please complete the following for each vault.

 

VAULT #1

 

1A) Interior dimensions of the Vault
Height: 12 Feet inches Width: 40 Feet inches Depth: 25 Feet inches

 

1B) Thickness of walls (in inches): []9in (]12in (J 18in [] 27in ([] Other
Reinforced with Reinforcing Bar (aka ‘ReBar’)? [xX] Yes [] No

Thickness of floors (ininches): [J]9in []12in [xj18in [] 27in [] Other
Reinforced with Reinforcing Bar (aka 'ReBar')? [xX] Yes [_] No

Thickness of ceilings (in inches): [1] 9in [] 12in 18in [] 27in [| Other
Reinforced with Reinforcing Bar (aka ‘ReBar’)? [x] Yes [] No

 

1C} Construction of Vault
("] Modular Manufacturers Name
uLClass [JM (]1 Cj2 (3
[_] Concrete Block
J] Poured Concrete
[] Other Describe if ‘Other’

 

1D) Vault Door Information
Name of Door Manufacturer: National Safe Corp.
Burglary Rating:
Thickness of outer door
- excluding bolt work—({inches) 1ft. 4 inches
Type of Relock device:
Type of Time Lock device:

 

 

 

1E) What proportion of the total value of property on premises is stored in this vault during
non business hours? %

 

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PLEASE COMPLETE FOR EACH LOCATION
PART |- PREMISES SAFE INFORMATION: LOCATION #

 

1) Does this premises have one or more Safes? [] Yes [_] No
If yes, please complete the following for each Safe.

 

 

Safe #1:

 

1A) Manufacturers Name

 

1B) Burglary Rating: [] TL15 [] TRTL3O [J] TRTL15x6 (]TL30 ([)TRTL30x6 (J None
If None, Inner dimensions Height Width Depth
Outer dimensions Height Width Depth Weight (ibs)

 

1C) Construction: [] Steel [|] Composite [7] Other
Describe if other

 

 

1D) Percentage of total values of property on premises stored in this safe during non business hours:
%

 

 

Safe #2:

 

1A) Manufacturers Name

 

1B) Burglary Rating: []TL15 (| TRTL30 [] TRTL15x6 [J] TL30 (J TRTL30x6 ((] None
if None, Inner dimensions Height Width Depth
Outer dimensions Height Width Depth Weight (ibs)

 

 

1C) Construction: (_] Steel [_] Composite (J Other
Describe if other

 

1D) Percentage of total values of property on premises stored in this safe during non business hours:
%

 

 

Safe #3:

 

1A) Manufacturers Name

 

1B) Burglary Rating: []TL15 CITRTL30 [CI TRTL15x6 []TL30 [J TRTL30x6 [] None
If None, Inner dimensions Height Width Depth
Outer dimensions Height Width Depth Weight (Ibs)

 

1C) Construction: ([] Steel [[] Composite [(] Other
Describe if other

 

1D) Percentage of total values of property on premises stored in this safe during non business hours:
“h

 

 

 

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PLEASE COMPLETE FOR EACH SUBMISSION

PART J - WARRANTIES FOR PROPERTY ON ALL DESCRIBED PREMISES AT ALL TIMES
DURING NON-BUSINESS HOURS

Location #1

 

1) What is the minimum percentage of property kept in safes or vaults:

1A) With complete alarm protection? %
1B) With partial alarm protection? %
1C) Without alarm protection? "p

 

 

 

 

 

2) For this location, what is the maximum percentage of property on premises not kept in a locked
safe(s) or vault(s) %

 

 

Location #2 (if applicable)

 

1) What is the minimum percentage of property kept in safes or vaults:

1A) With complete alarm protection? %
1B) With partial alarm protection? %
1C) Without alarm protection? %~%

 

2) For this location, what is the maximum percentage of property on premises not kept in a locked
safe(s) or vault(s) %

 

 

Location #3 (if applicable)

 

1) What is the minimum percentage of property kept in safes or vaults:

1A) With complete alarm protection? _ = %
1B) With partial alarm protection? %
1C) Without alarm protection? %

 

2) For this location, what is the maximum percentage of property on premises not kept in a locked
safe(s) or vault(s) %

 

 

Location #4 (if applicable)

 

1) What is the minimum percentage of property kept in safes or vaults:

1A) With complete alarm protection? v9
1B) With partial alarm protection? %
1C) Without alarm protection? %

 

2) For this location, what is the maximum percentage of property on premises not kept in a locked
safe(s) or vault(s) %

 

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Part K — Fraud Warnings:

Arkansas: Any person who knowingly represents a false or fraudulent claim for payment of a loss or
benefit or knowingly presents false information in any application for insurance is guilty of a crime and
may be subject to fines and confinement in prison.

Colorado: It is unlawful to knowingly provide false, incomplete, or misleading facts or information to
an insurance company for the purpose of defrauding or attempting to defraud the company.
Penalties may include imprisonment, fines, denial of insurance, and civil damages. Any insurance
company or agent of an insurance company who knowingly provides false, incomplete, or misleading
facts to a policyholder or claimant for the purpose of defrauding or attempting to defraud the
policyholder or claimant with regard to a settlement or award payable from insurance proceeds shall
be reported to the Colorado Division of Insurance within the department of regulatory agencies.

Florida: Any person who knowingly and with intent to injure, defraud, or deceive any insurer submits
an application containing any false, incomplete, or misleading information is guilty of a felony of the
third degree.

Kentucky: Any person who knowingly and with intent to defraud any insurance company or other
person files an application for insurance containing any materially false information or conceals, for
the purpose of misleading, information concerning any fact material thereto commits a fraudulent
insurance act, which is a crime.

New Jersey: Any person who includes any false or misleading information on an application for an
insurance policy is subject to criminal and civil penalties.

New York: Any person who knowingly and with intent to defraud any insurance company or other
person files an application for insurance or statement of claim containing any materially false
information, or conceals for the purpose of misleading, information concerning any fact material
thereto commits a fraudulent insurance act, which is a crime, and shall also be subject to a civil
penalty not to exceed $5,000 and the stated value of the claim for each such violation.

Qhio: Any person who, with intent to defraud or knowing that he/she is facilitating a fraud against an
insurer, submits an application or files a claim containing a false or deceptive statement is guilty of
insurance fraud.

Oklahoma: WARNING: Any person who knowingly, and with intent to injure, defraud or deceive any
insurer, makes any claim for the proceeds of an insurance policy containing any false, incomplete or
misleading information is guilty of a felony.

Pennsylvania: Any person who knowingly and with intent to defraud any insurance company or
other person files an application for insurance or statement of claim containing any materially false
information or conceals for the purpose of misleading, information concerning any fact material
thereto commits a fraudulent insurance act, which is a crime and subjects such persons to criminal
and civil penalties.

All Other States: Any person who knowingly includes any false or misleading information on an
application for an insurance policy commits a fraudulent act and is subject to fines, imprisonment, or
other criminal or civil penalties.

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PLEASE COMPLETE FOR EACH SUBMISSION

Part L - WARRANTIES:

Each answer on this application shall constitute a warranty (representation in states that do
not permit warranties) if a policy should be issued . The pricing of the policy is based upon
the information provided by the Applicant on this application. If information provided to us by
the Applicant is determined to be false/incorrect, the coverages provided by the policy will be
considered null and void.

Part M - APPLICANT'S STATEMENT:

The undersigned has read and understands the information and statements in the application,
has the authority to submit this application and hereby certifies that the information provided

is correct/true.

Anthony G. Thomas

 

 

 

 

 

 

 

 

Applicant's Name (please print) Producer's Name (please print)
Applicant's Signature Producer's Signature
( )
Title Contact Phone number
Date Date
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PLEASE COMPLETE FOR EACH LOCATION
PART G - ALARM INFORMATION LOCATION #

 

1} What type of surveillance is in operation at this location?
Cameras Gieaed-Gireuvit-Eaery)—-Menitering-onty-
(Closed Circuit Tv (CCTY) — with Recording) Ne-Survsiante

2) Which of the following are in operation (select all that apply)

Metal Roll-down Gates trarr@uteeorp@ers Locked Door Buzzer Entry Man Trap

Bullet Proof Exterior Glass Dedicated Armed Guard (Gesieatediaesnessinerd
3) Does this location have a U/L BURGLAR ALARM CERTIFICATE with a certificate num

beginning with 'MR’ or ‘BC’?

Yes - Please complete question 4 (below) No - Please complete question 5 (below

4) UL Certificate Number: .4A) Certificate Expiration Date (mm/dd/

 

 

 

 

 

4B) Alarm Service Company: ADT and Vela)
4C) Premisés —Extent of Protection 2 3 4 Not Shown

4D) Safe #1 - Extent of Protection Partial Complete Not Shown
Safe #2 (if applicable) - Extent of Protection Partial Complete Not Shown
Safe #3 (if applicable} - Extent of Protection Partial Complete Not Shown
Safe #4 (if applicable) - Extent of Protection Partial Complete Not Shown
Safe #5 (if applicable} - Extent of Protection Partial Complete Not Shown

4E) Vault #1 ~ Extent of Protection Partial Complete Not Shown

Vault #2 (ff applicable) - Extent of Protection Partial Complete Not Shown
Vault #3 (if applicable) - Extent of Protection Partial Complete Not Shown
Vault #4 (if applicable) - Extent of Protection Partial Complete Not Shown
Vault #5 (if applicable) - Extent of Protection Partial Complete Not Shown

4F) Alarm Transmission Method ss

 

 

 

 

   
  

  

Broadband/intemet el) Digital Communicator Direct Wire
Multiplex One-way Radio TOIT Radio Satellite Other
Describe if Other:

 

4G) Line Security: (Standa Not employed

4H) Alarm Investigator Response:
Minutes Runner{(s) ‘With Keys Without Keys Not Show

 

 

 

 

 

 

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PLEASE COMPLETE FOR EACH LOCATION

Location #

5) Alarm Company ADT aac? DeharT

5A) Alarm Company Representative/Contact Name: 5B) Phone Number
(___)

5C) Primary Method of Signal Traagmission.to Central Station:

 

 

 

 

 

 

  
 
   
 

Broadband/internet 7 |) Digital Communicator Direct Wire
Multiplex One-way Red A Satellite None Other
Describe if Other. _

 

 

 

5D) Backup Method of Signal Transmission to Central Station:
Broadband/internet Derived Channel Digital Communicator Direct Wire
Multiplex One-way " Two-way Radio Satellite None Other

Describe if Other
pete se . « . 2 i
SE) Are Operiing and Closing Signal supervised by the Central Station No

 

SF) Are all ac le openings (doors and windows within 18 feet of the ground) protected by :
sensors? No

5G) If No, please explain:

5H) Please describe areas of the interior that are NOT protected by motion detectors:

 

ation on each safe?
snsors Proximity Device/EVD None
i 3 Proximity Device: 1” Motion Detector None
Safe #3 (if anpilcable) - Contact Sensors Proximity DevicelEVD Motion Detector None
Safe #4 (if applicable) - Contact Sensors Proximity DevicefEVD Motion Detector None
Safe #5 (if applicable) - Contact Sensors Proximity DevicefEVD Motion Detector None

 

seration on each vault?

 
 
  

5J) What equipment is in op:
Vauit #1 (i applicable) Proximity Device/EVD (Motion Detecto) None
Vault #2 (if applicable) - Contact Sensors Proximity DeviceEVD Wo tector None
Vault #3 (if applicable) - Contact Sensors Proximity DevicefEVD Motion Detector None
Vault #4 (if applicable) - Contact Sensors Proximity DeviceJ/EVD Motion Detector None
Vault #5 (if applicable} - Contact Sensors Proximity Device/EVD Motion Detector None

    

5K) Does the Applicant have a reqular maintenance/service contract with the alarm company?
. No

—

Weekly Monthly Bi-Monthly Quarterly Annually Other

Describe if Other:

 

 

 

 

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PLEASE COMPLETE FOR EACH LOCATION
PART H - PREMISES VAULT INFORMATION LOCATION # 1

 

1) Does this premises have one or more ‘walk in‘ vauits? (Yes) No
if yes, please complete the following for each vault.

 

VAULT #1

1A) Interior dimensions of the Vault fest
Height: Va inekes Fost width: ©  iaties Depth: 4 nase!

 

1B) Thickness of walls (in. inches): gin 12in G8in) 27in Other
Reinforced with Reinforcing Bar (aka ‘ReBar)}? (Yes), No

 

Thickness of floors (in inches): Sin 12in (418i) 27in Other
Reinforced with Reinforcing Bar (aka "ReBar’)? Yes) No

Thickness of ceilings (in inches): in 12in Sp 27in Other

 

 

Reinforced.with Reinforcing Bar (aka 'ReBar’)? No
1C) Construction of Vault
Modular Manufacturers Name
UR Ciass M 1 2 3
oncrete Block
C Poured Concrete)
Other Describe if ‘Other
1D) Vautt Door Information ~
Name of Door Manufacturer: Neth; One | S afe Corp ;
Burglary Rating: '
Thickness of outer door Tofa:
4 excluding bolt work — (inches) [© 4 '”
Type of Relock device: _
Type of Time Lock device:

 

 

1E) What proportion of the total value of property on premises is stored in this vault during
non business hours? %

 

 

 

 

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Exhibit 2

Exhibit 2

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a Gmail Anthony Thomas <atemerald2@gmail.com>
AT Emerald
1 message
Holly Estes <estes@asmithlaw.com> Thu, Apr 3, 2014 at 2:08 PM

To: atemerald2@gmail.com, wendithomas6@gmail.com, mail@asmithlaw.com

Tony,

| spoke with Beach's counsel today and they would like for us to enter into the attached proposed stipulation.
My proposed changes are in red and are subject to proof of the note, security agreement, UCC-1 filings, and
calculation on the $540,000.00 pre-petition claim amount. Bill Cossitt, the attomey for the office of the united
States trustee sent me an email stating that if we did not insure the emerald, they would be filing a motion to
dismiss the case. It is imperative that you take a trip to Florida to all Mr. Beach, his Florida counsel and his
gemologist to inspect the emerald. | believe that it will give us the best position to oppose Bill Cossitt’s motion.
Mr. Beach's counsel has stated that if they are able to inspect the emerald and ensure that the vault is safe, they
will side with us in opposing Bill Cossitt’s motion to dismiss for lack of insurance. Counsel for Mr. Beach are
speaking with him about him paying for your airfare, hotel and an allowance for your trip to Florida, so that there
is a Zero net financial effect of you taking this trip for his benefit. Please advise when you would be able to take
this trip, and what additional consideration if any you would require in order to make it. Please review the
attached stipulation as well.

Best,

Holly E. Estes, Esq.

Law Offices of Alan R. Smith
505 Ridge Street

Reno, NV 89501

Telephone: (775) 786-4579
Facsimile: (775) 786-3066

Email: estes@asmithlaw.com

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hitps://mail.goog le.com/mail/i/07ike 96 1b1011388vew= pi&search=all &permthid=thread-f%3A 1464398572343601 6938simpl=msg-f3A 1484398572343601693 V2
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Subject: AT Emerald

From: "Holly Estes" <estes@asmithlaw.com>
Date: 5/12/2014 9:31 AM

To: <ars@asmithlaw.com>, <atemerald2@gmail.com>, <wendithomas6@gmail.com>,
<mail@asmithlaw.com>

Tony and Wendi,

Can you please give me an update on any potential purchase offers on the emerald and on the trip to Florida. |
need to know when the trip will take place as well as any imminent potential sales. | have to draft a reply to the
US Trustee’s Motion to Convert this case to a case under Chapter 7 of the bankruptcy code tomorrow. (See
Motion attached hereto). As | have discussed earlier, we want to stay in control of the sale of the emerald. If
this case is converted, a Chapter 7 trustee will be appointed and be in control of liquidating the emerald.

Best,

Holly E. Estes, Esq.

Law Offices of Alan R. Smith
505 Ridge Street

Reno, NV 89501

Telephone: (775) 786-4579
Facsimile: (775) 786-3066
Email: estes@asmithlaw.com

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Attachments:

Mot Convert [DE 27] 043014.pdf 424 KB

Exhibit 2

lof -31- 8/13/2019 5:56 PM
FW: 21,000 Carat Thomas Emerald Matrix

1 of 3

Case 14-50333-gs Doc 547 Entered 09/03/19 15:20:55 Page 42 of 79

Subject: FW: 21,000 Carat Thomas Emerald Matrix

From: "Holly Estes” <estes@asmithlaw.com>

Date: 7/11/2014 3:48 PM

To: <ars@asmithlaw.com>, <atemerald2@gmail.com>, <mail@asmithlaw.com>

Tony,

The Order on the Motion to Sell the Thomas Emerald has been withdrawn. It has not been posted to the
docket, and it is not, and never has been, a part of the public record.

At the hearing on our Motion to Sell, which you attended, Wayne Silver objected to the sale motion. He stated
that several of the time periods for the parties to perform conditions in the original purchase and sale
agreement had expired. You heard me state to the court that because several of the time periods set forth in
the original purchase and sale agreement have passed, and performance has not occurred, that | would draft
an addendum to the original purchase and sale agreement to remedy the timing issues.

After the sale hearing you and | spoke and you requested that | draft the addendum to the purchase and sale
agreement, and requested for me to send it to you asap. Pursuant to our discussion, | drafted an addendum to
the original purchase and sale agreement. The only changes to the original PSA were the dollar amount to be
turned over to our firm’s trust account ( originally $20,000,000.00, and now $70,000,000.00), and extension of
the deadlines for the parties to perform the conditions under the original purchase agreement (many, if not all,
of which had already expired).

| sent you an email with the addendum and the original PSA for your review and approval. You failed to
provide me any comment or requested changes to the addendum. Apparently, you reviewed and forwarded
the addendum on to David Clarke. | do not have Mr. Clark’s email or contact information, and | have never
sent him the addendum. If you believed the addendum was incorrect, or that there should have been changes
made prior to Mr. Clarke reviewing the same, you should have brought those requested changes to my
attention in advance of you sending the addendum on to Mr. Clarke. Any problems caused by the addendum
were caused by your, not our, communication with Mr. Clarke.

| have reviewed Mr. Clarke’s email below and | am confused as to what he is alleging. If you review both the
original purchase and sale agreement and the addendum, you will both see that the only changes are what |
have set forth above: (1) a change in the dollar amount to be turned over to our firm’s trust account (change
from $20,000,000.00 to $70,000,000.00)(this change does not affect the purchaser in any way), and (2)
extension of expired deadlines for performance. Accordingly, my addendum is exactly consistent with the
parties original intent and the spirit of the original purchase and sale agreement. Frankly, | do not care if they
perform under the original purchase and sale agreement, or sign the addendum, so long as they perform. To
be clear, the addendum is necessary to have an existing and valid contract because several of the deadlines in
the original purchase and sale agreement have expired. As we had discussed previously, this is why itis a
good idea to have the purchaser sign the addendum, so that we have a valid and binding purchase agreement.
Again, purchaser performance is the main goal here, and all of our firm’s efforts have been consistent with that
goal.

We request that you call our office asap to set up a meeting for Monday, July 14, 2014, to discuss the tone of
your email and our further representation in your cases.

Holly E. Estes, Esq.
Law Offices of Alan R. Smith
505 Ridge Street

Reno, NV 89501

Telephone: (775) 786-4579
Facsimile: (775) 786-3066

Exhibit 2

~32- 8/13/2019 4:42 PM
FW: 21,000 Carat Thomas Emerald Matrix

2 of 3

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Email: estes@asmithlaw.com

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telephone or email and destroy all versions of this email. Thank you.

From: Anthony Thomas [mailto:atemerald2@gmail.com]
Sent: Friday, July 11, 2014 8:42 AM

To: Alan Smith; Holly Estes

Subject: Fwd: 21,000 Carat Thomas Emerald Matrix

Dear Alan and Holly, you have officially jeopardized the sale of that Thomas emerald see the attached email.
I am instructing you to retract the application order that your firm submitted to the court on July 9th or 10th
your firm did this without my consent or knowledge and you've officially jeopardize the sale of the Emerald
and I will hold you fully responsible if the sale does not go through, all terms of the signed sales agreement
and the court approval were being executed to the T until you interfered. Holly told me yesterday at Spm that
the judge has not signed the application order,you must immediately go in and retracted the application order
before you cause any more harm to the sale of the Emerald. this is at least the fourth error your firm has made
in regards to my bankruptcy. Your firm wrote the agreement that was submitted to the buyer and was
approved buy you and Holly before you let me sign it and then it was approved by the bankruptcy court any
changes should have been made at that time not after it was accepted by the buyer and court approved.

I want to know today what your plan is to remedy the situation and if you were successful in retracting the
application order that you submitted.

Regards

Tony

woneneeee= Forwarded message ----------

From: "David Charles Clarke" <koyostcasia @ gmail.com>
Date: Jul 11, 2014 5:27 AM

Subject: 21,000 Carat Thomas Emerald Matrix

To: "Anthony Thomas” <atemerald2 @ gmail.com>

Dear Mr. Thomas
STRICTLY PRIVATE AND CONFIDENTIAL

I am in receipt of your communication of the 10th July 2014 relating

to the sale and purchase of the 21,000 carat Thomas Emerald Matrix

the contents of which have been duly noted.

Subsequently I have talked to my Chairman who has categorically refused to accept your lawyer's latest
proposed amendments to the

original Sales and Purchase Agreement.

Furthermore I am to officially place on record that your Lawyer's proposed

amendments are a direct contradiction to the content and spirit of the court approved sales and purchase
agreement already legally ratified approving engagement and obligation of the both the participating parties

being Seller and Buyer alike. =p:
Exhibit 2

-33- 8/13/2019 4:42 PM
Therefore ples Be advised unless the Saas" And PURE Qa Bie ReRuted riety Under the terms
and conditions of the original agreement Koyo Shipping and Trading Corporation will reluctantly be forced to
withdraw from any further interest in purchasing the Thomas Emerald Matrix.

Please accept this e-mail as formal notice and for your file purposes hard copy will be supplied in due course.
Yours sincerely

David C Clarke
Finance Director
Koyo Shipping & Trading Corporation

Exhibit 2

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Exhibit 3

Exhibit 3

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hitps://blogs.wsj.com/bankruptcy/201 4/08/30/giant-emerald-for-sale-after-owner-loses-battle-for-an-even-bigger-one/

BANKRUPTCY BEAT

Giant Emerald for Sale After
Owner Loses Battle for an Even
Bigger One

By Katy Stech
Jun 30, 2014 12:32 pm ET

A Nevada man who once tried—-
unsuccessfully-—to prove that he
owned the world’s biggest emerald
is putting a gem that he actually
owns on the block: a 21,000-carat
emerald that’s locked in a Florida
vault.

Anthony Thomas, who filed for a
bankruptcy in March after losing ioe ; . ,
his battle for the 840-pound Bahia +),, 9008 file photo provided by the Los Angeles County
Emerald, has already found a buyer Sheriff's Department shows the so-called Bahia Emerald.
for his 50-pound emerald. ASSOCIATED PRESS

  

But Mr. Thomas's financial problems are a side story in the scarcely believable history of
the Bahia Emerald, which has torn friends apart, sat underwater after Hurricane Katrina
and kept teams of lawyers busy in court fighting over who owns it.

Not Mr. Thomas, a state judge recently determined.

In court papers, Mr. Thomas said his smaller emerald is worth more than $200 million
but refused to say how much the potential buyer has offered. His lawyers, who did not
return several messages, blacked out the purchase price in the five-page sale agreement
filed to the U.S. Bankruptcy Court in Reno.

1of3 8/13/2019 5:34 P

Exhibit 3

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20f3

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“Disclosure of the actual purchase price for the emerald poses a risk to my family and I,”

Mr. Thomas said in court papers.
The proposed buyer, Koyo Shipping And Trading Corp., could not be reached either.

Mr. Thomas said the sale money will be enough to pay off their more than $6.3 million
in debt, including a 2007 loan for smartcard-technology company that he managed and
that no longer exists. Mr. Thomas said that he and his wife are unemployed.

Mr. Thomas is one of many people who have claimed ownership of the Bahia Emerald
since it was discovered in Brazil in 2001. The gem, which is rumored to have protruding
shards of forest green gem as round as “a man’s thigh,” once appraised for $925 million.

Mr. Thomas was in Sao Paulo shortly after the discovery to look for emeralds that could
be used as collateral to borrow money for businesses. He said he bought the Bahia
Emerald for $60,000, but the gem never arrived in the mail.

Mr. Thomas shrugged it off as local corruption and later heard that it had been
jackhammered into pieces.

In reality, the gem’s journey---as told by National Geographic---included a stint at an
abandoned gas station in California and another spell somewhere in New Orleans where
it sat submerged after the 2005 hurricane. It was also involved in a $197 million banking
deal with Bernard Madoff. However, Mr. Madoff was arrested just two days before the
transaction was to be completed.

Mr. Thomas reentered the picture in 2008 when he heard the Los Angeles County
Sheriff's department had the emerald. In the lawsuit he filed to claim it, Mr. Thomas
argued that the sale papers that proved he bought it for $60,000 had burned down in a
2006 house fire.

At least two judges haven't believed Mr. Thomas's tale.

Mr. Thomas and his wife, Wendi, filed for bankruptcy on March 4, near the end of the
ownership dispute. Several weeks before the filing, a Los Angeles judge ruled that Mr.
Thomas didn’t own the Bahia Emerald, but Mr. Thomas’s lawyer said he needed time to
look for any legal options that remained. When a person files for bankruptcy, his or her
legal disputes is usually stayed.

So who owns the Bahia Emerald? That’s still unclear.
Write to Katy Stech at katy.stech@wsj.com. Follow her on Twitter at @KatyStech.

8/13/2019 5:34 Ph

ay. Exhibit 3
Giant Emerald for Sale Alter Pyngsases, partie 10r ane) pyc pie tore sy ey 1b) VBR HS eeses eset gunna Sk 5G Se SBI

Correction: An earlier version of this post incorrectly stated that the Bahia emerald
weighs 600 pounds. It weighs about 840 pounds.

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Exhibit 3

3 0f3 8/13/2019 5:34 P!
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Exhibit 4

Exhibit 4

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Laskowitz v. Shellenberger, 107 F.Supp. 397 (S.D. Cal., 1952)

 

107 F. Supp. 397

LASKOWITZ et al.
v.
SHELLENBERGER et al.

No. 12258-T.
United States District Court S. D. California, C. D.
September 27, 1952.
TOLIN, District Judge.

The Court is asked to permit withdrawal of R. Welton Whann, Esq., John C. Allen, Esq.,
and Robert M. McManigal, Esq. as attorneys for Craft Furniture Mfg. Co., a corporation.
They are the only attorneys of record for said defendant. The case is at issue.

Said defendant consents to the withdrawal by a document bearing its seal filed with the
Court. The Court does not consent to the withdrawal of attorneys. Approval would leave a
corporate defendant without representation. Even if a defendant assumes to represent
himself, he must either enter his first appearance in the case in propria persona or be
substituted for whoever appeared as his attorney. Defendant appropriately does not offer to
do this because, being a corporation, it is without capacity to either represent others or itself.

For authorities discussing the principles involved, see cases cited to support the
following quotation from Cal.Jur. Ten Year Supplement, 1949, Revision, Vol.

[107 F. Supp. 398]
9, Sec. 15, p. 448, where the applicable rules are stated as follows:

"Since a corporation cannot practice law, and can only act through the agency of
natural persons, it follows that it can appear in court on its own behalf only
through a licensed attorney. It cannot appear by an officer of the corporation
who is not an attorney, and may not even file a complaint except by an attorney,
whose authority to appear is presumed; in other words, a corporation cannot
appear in propria persona. A judgment rendered in such a proceeding is void."

In any event a withdrawal of attorneys is not the proper course. A substitution of
attorneys approved by the Court is the method of changing representation. The purported
withdrawal of attorneys is disallowed.

Ft

Exhibit 4

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REPORTS OF CASES

DETERMINED IN

THE COURTS OF APPEAL

OF THE STATE OF CALIFORNIA

 

DECEMBER 23. 1975. TO JAM ARY 30. 1976

 

ROBERT E. FORMICHE
Reporter of Decisions

 

VOLUME 54 - 3d

San Francisco
BANCROFT-WHITNEY COMPANY

1976

Exhibit 5

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VANN V. SHILLEH 193
54 C.A.3d 192; 126 Cal.Rptr. 401

 

HEADNOTES

Classified to California Digest of Official Reports, 3d Series

(la, Ib) Continuance § 2—Grounds—Discretion.—In a breach of con-
tract action against a corporation and its individual shareholder, in
which defendants’ attorney withdrew from the case on the Friday
preceding a Monday court date, based on the individual defen-
dant’s refusal to accept the settlement negotiated by the attorney,
the trial court abused its discretion in denying defendants’ motion
for continuance to retain an attorney, where defendants did not
know the attorney would withdraw from the case and had no time
to procure a new attorney over the weekend, and where the trial
court made no effort to analyze the situation in which the individual
defendant found himself, but based its denial on a policy against
continuances, without considering whether the case before it
justified a departure from that salutary policy.

[See Cal.Jur.3d, Actions, § 179; Am.Jur.2d, Continuance, § 13.]

(2) Continuance § 1—Discretion——A denial of a requcst for a contin-
uance constitutes an abuse of discretion where the ruling is

arbitrary, capricious, and contrary to the interests of justice under
all the circumstances.

(3) Continuance § 2—Grounds—Substitution of Counsel—While a
litigant may not demand a continuance by engaging counsel just
prior to a trial date without a showing of any necessity for change of
counsel, a necessary substitution of counsel just prior to trial may
justify the granting of a continuance.

(4) Attorneys at Law § 16—Attorney-Client Relationship—Substitution
of Attorneys and Termination of Relationship.—The right of counsel
to withdraw from pending litigation 1s not absolute. Accordingly,
the withdrawal of an attorney representing a corporation and an
individual in a breach of contract action, who withdrew on the
Friday preceding a Monday court date, on the ground of the
individual defendant’s refusal to accept a settlement negotiated by
the attorney, was not ethical and constituted an improper abandon-
ment of his client.

(5) Corporations § 46—Actions by and Against Corporations—Repre-
sentation by Counsel.—In a breach of contract action against a
corporation and its individual shareholder, in which the attorney

[Dec. 1975]

Exhibit 5

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54 C.A.3d 192; 126 Cal Rptr. 401

 

representing defendants improperly withdrew from the case on the
Friday preceding a Monday court date, and the trial court denied
defendants’ motion for a continuance to engage a new attorney, it
was error for the trial court to compel the individual defendant to
represent the corporate defendant in the action, as a corporation
cannot represent itself in court, either in propria persona or through
an officer or agent who ts not an attorney. Furthermore, the court’s
action in permitting the individual defendant to appear in propria
persona could not be justified by the fact that the court later found
the individual defendant to be the alter ego of the corporation,
where the individual defendant was allowed to act in such capacity
for the corporation prior to the time the court examined the issue of
whether he was the alter ego of the corporation.

(6) Constitutional Law § 102—Due Process—Counsel in Civil Proceed-
ings.—There is a constitutional basis for the right to counsel in
noncriminal proceedings and, in its narrowest definition, it is the
right to appear by counsel in any adversary proceeding in which the
adversary party has the benefit of the right to counsel.

 

COUNSEL
Philip Mirecki for Defendants and Appellants.

James A. Irwin and Mark A. Treadwell for Plaintiffs and Respondents.

 

OPINION

KINGSLEY, Acting P. J.—Defendants Shilleh and Savoir Parking
Service, Inc. (Savoir) appeal from a judgment against them, entered after
a trial by the court in an action for breach of contract. The sole ground
urged for reversal is that the trial court compelled the defendants to
appear by defendant Shilleh, a nonlawyer, appearing in propria persona
and refused to grant defendants a continuance to secure new counsel.
For the reasons set forth below, we reverse the judgment.

Respondents Vann and Cutter filed a complaint against appellants,
Shilleh and Savoir, on July 18, 1972. Appellants answered their

[Dec. 1975]

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54 C.A.3d 192; 126 Cal .Rptr. 401

 

complaint with counsel identified as “The Law Office of Max Fink.”
Trial was set for August 19, 1974. Attorneys for both sides began
settlement negotiations.

On August 16, 1974, the Friday before the Monday set for trial, a form
entitled “Substitution of Attorneys” executed by appellants Shilleh and
Savoir, and Law Offices of Max Fink, by R. Stephen Duke was filed with
the court clerk.

The circumstances leading to the substitution were as follows: On the
Thursday night preceding trial, defendant telephoned his attorney to
refuse to accept the settlement agreement that the two opposing
attorneys had worked out. The next day, August 16, Friday, the attorney
substitution was filed and, according to respondents’ own language,
defendants’ attorney, Stephen Duke, “withdrew from the case by
permission of the court.” Respondents also alleged that the reason that
defendants’ attorney, Stephen Duke, withdrew from the case was that
defendants were dilatory in “withdrawing from the agreement” that both
counsel had worked out to settle the case. After trial, the court stated in
its findings of fact and conclusions of law that defendant Shilleh
appeared in propria persona “after the motion of attorney Stephen Duke
to withdraw from the case was granted by the court.”!

On August 19, the following Monday morning, the matter was called
for trial. Defendant Shilleh did not appear in court the morning of trial
and Mr. Duke moved for a continuance before Judge Stothers, in
Department SW “A” so that Mr. Shilleh could get a new attorney. Mr.
Duke stated that defendant could not “get a new attorney in an hour or
two hours’ time.”

Counsel for the plaintiffs also asked for a continuance, on the ground
that he reasonably had assumed that the case was to be settled and,
therefore, was not fully prepared for trial. The trial court refused the
request for a continuance made on Shilleh’s part, saying:

“THE Court: Counsel, 1 appreciate your concern for your former
client. However, the Court, as I have indicated, operates under the policy
of no continuance, and, in addition to that, your man, your former client,
has been apprised of the date of this trial and I see no grounds for him to
continue this matter merely by failing to appear and substituting on the °

 

"Mr. Shilleh had declared that his attorney told him that he was going to ask to be
relieved as his attorney just preceding the day the case was to be tried.

[Dec. 1975]

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morning of trial. Anyone can get a continuance under that theory. We
cannot proceed in that manner, otherwise, our calendar would very
shortly be in a horrible mess, and it’s in excellent condition due to the
fact that we’ve had to take a hard line on these continuances.” He also
denied the plaintiffs’ request for a substantial continuance but did allow
them one hour to prepare for trial.

When the case was called for trial, an hour later, before a different
judge (Judge Kennedy) in a different department, defendant Shilleh was
present. He requested a continuance to get a new attorney and that
request was peremptorily denied.2

Trial was held on August 19 by a judge without a jury. Appellant acted
as his own attorney. The trial court found that appellant corporation,
Savoir Parking Service, Inc., was the alter ego of appellant Shilleh, and
that appellants owed respondents $10,876.85 for breach of contract. The

defendants’ cross-complaint was dismissed. Defendants filed a notice of
appeal.

(la) Appellants argue that the superior court abused its discretion by
denying defendants’ motion for continuance to retain an attorney.

We agree. (2) A denial of a request for a continuance constitutes an
abuse of discretion where the ruling is arbitrary, capricious, and contrary
to the interests of justice under all the circumstances. (Kalmus v. Kalmus
(1951) 103 Cal.App.2d 405 [230 P.2d 57].) (3) It cannot be held that
litigants in all cases may demand a continuance by engaging counsel just
prior to a trial date, where there is no showing of any necessity for any
change of counsel, but a necessary substitution of counsel just prior to
trial may justify the granting of a continuance, in some cases. (Berger v.
Mantle (1936) 18 Cal.App.2d 245 [63 P.2d 335].) (Ib) For reasons we
shall discuss, the facts before us justified the granting of a continuance.

2“MR. SHILLEH: I am here to ask for a continuance because I have to get another
attorney.

“THE COURT; All right. Was that taken up in Department A this morning?
“MR. MORGAN: Yes, Your Honor. The former attorney for Mr. Shilleh presented an

argument for a continuance at that time, and it was denied, and the court ordered that
we be prepared to go to trial at 1:30.
“THE COURT: Very well. The motion is denied.”

[Dec. 1975]

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In the case at bench, by respondents’ own admission, appellants’
attorney withdrew from the case. Plaintiffs contend that the withdrawal
by Mr. Duke, on the eve of trial, was due to the fact that Mr. Shilleh had
been dilatory in communicating his rejection of the negotiated settle-
ment and had, thus, “acted in bad faith.” The record does not support
that allegation. All that appears in the record before us is the following
statement by Mr. Duke.

“The circumstances are this, Your Honor: As Mr. Morgan indicated,
we thought we had the case settled and I negotiated in good faith based
upon Mr. Shilleh’s acceptance at one point. And then he called me late
Thursday to say he rejected the settlement. He just felt he could not
accept it—”

(4) The right of counsel to withdraw from pending litigation is not
absolute. Although Mr. Duke may well have been irked to see a
settlement that he had negotiated fail of consummation, his withdrawal,
for that personal reason on the very eve of trial was not ethical.
Subdivision (2) of rule 2-111 of the Rules of Professional Conduct
provides: “(2) In any event, a member of the State Bar shall not
withdraw from employment until he has taken reasonable steps to avoid
foreseeable prejudice to the rights of his client, including giving due
notice to his client, allowing time for employment of other counsel,
delivering to the client all papers and property to which the client is
entitled, and complying with applicable laws and rules.”

It was the duty of the trial court to sec that Mr. Shillch was protected,
so far as possible, from the consequences of Mr. Duke’s improper
abandonment of his client.

Where an attorney withdraws from a case the Friday before the
Monday morning of a trial, the party ordinarily does not have sufficient
time to procure counsel, and unless the party actually had sufficient
advance warning that his attorney intended to withdraw, the circum-
stances justified granting a continuance. It has been held that where a
party has stated his case to his attorney and the attorney doesn’t show up
because of an illness in the family, and the party first ascertains this fact
on the morning of the day of trial, and he cannot procure ot!“r counsel,
a continuance should be granted. (Thompson v. Thornton (1871) 41 Cal.

‘Although rule 2-111 did not come into force until after the events herein involved, it
states a long-accepted principle of professional conduct. (See tule 2-110(A)(2) of the
Disciplinary Rules of the American Bar Association.)

 

[Dec. 1975]

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626.) Although it is true that a party cannot substitute himself in propria
persona and also insist on a continuance (Agnew v, Parks (1963) 219
Cal.App.2d 696 [33 Cal.Rptr. 465]), in the case at bar it is clear that
appellant did so by necessity after his attorney withdrew and a request
for a continuance was denied.

The cases cited us by counsel and disclosed by our own research in
which a denial of a continuance was upheld, do not negate our position
that the continuance should have been granted here.

Although Flynn v. Fink (1923) 60 Cal.App. 670 [213 P. 716] held that a
litigant does not have an absolute right to change his counsel and get a
continuance, the attorneys there were substituted five days before trial
and the case implies that the litigant sought the substitution of attorneys.
In the case before us the attorney sought to withdraw, and it does not
appear that the litigant wanted to change his counsel.

In Maynard v. Bullis (1950) 99 Cal.App.2d 805 [222 P.2d 685], the
attorney withdrew from trial months before the trial date, and even
though plaintiff consulted eight attorneys who refused to take the case,
the plaintiff in that case had ample time to procure counsel. In Fejer v.
Paonessa (1951) 104 Cal.App.2d 190 [231 P.2d 507], the defendant also
had “ample time to employ counsel who could have familiarized
themselves with the case.” In Agnew v. Parks, supra, (1963) 219
Cal.App.2d 696, plaintiff herself told the judge a full week in advance
that her attorney was unavailable, and plaintiff knew months before that
the attorney whom she wanted refused the case.

In Estate of Dargie (1939) 33 Cal.App.2d 148 [91 P.2d 126], the facts
are also distinguishable because in the Dargie case the newly changed
counsel had a general knowledge of the matter before the court. In
Estate of Bollinger (1905) 145 Cal. 751, 752 [79 P. 427], “appellant had
been given every opportunity to employ counsel if he so desired.”

All the above cases are to be distinguished from the case before us,
because, in the instant case, appellant did not know his attorney would
withdraw from the case prior to the preceding Thursday night or Friday
before a Monday court day, and he had no time to procure a new
attorney over the weekend.

As we have indicated, the presiding judge made no effort to analyze
the situation in which Mr. Shilleh found himself. The denial by Judge

{Dec. 1975]

Exhibit 5

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54 C.A.3d 192; 126 Cal._Roptr. 401

 

Stothers was peremptory and based solely on a policy against contin-
uances, without considering whether the case before it justified a
departure from that salutary policy. Defendant was entitled to the
exercise of an informed discretion; the record does not evidence any
attempt to exercise any discretion.

il

(5) Appellants argue that Savoir, a corporation, was improperly
forced to appear in propria persona. We agree. A corporation cannot
represent itself in court, either in propria persona or through an officer or
agent who 1s not an attorney. (Paradise v. Nowlin (1948) 86 Cal.App.2d
897 [195 P.2d 867]; Himmel v. City Council (1959) 169 Cal.App.2d 97
[336 P.2d 996].) Under these circumstances a withdrawal of attorneys is
improper. (See Laskowitz v. Shellenberger (1952) 107 F.Supp. 397.) It
was error to compel Shilleh to represent Savoir.

Nor can the court’s action in permitting Mr. Shilleh to appear in
propria persona be justified by the fact that the court later found Mr.
Shilleh to be the alter ego of the corporation. A decision of whether a
corporation is the alter ego of its shareholder is a decision for the trial
court, and certain requirements must be found before the corporate
entity will be disregarded. (Arnold v. Browne (1972) 27 Cal.App.3d 386
[103 Cal.Rptr. 775].) In the case before us Mr. Shilleh was allowed to act
in propria persona for the corporation prior to the time the court
examined the issue of whether he was the alter ego of the corporation.

Respondents argue without citation that Savoir was not an indispens-
able party to the case, and therefore the judgment against Shilleh in his
individual capacity must stand. Even if Savoir corporation were to be
regarded only as a necessary party, rather than as an indispensable party,
it 1s still mandatory to join the parties, where it is possible or practicable
to do so. (Bank of California v. Superior Court (1940) 16 Cal.2d 516, 523
{106 P.2d 879].) Therefore, Savoir should have been represented by an
attorney.

Ill

Plaintiffs argue that denial of a continuance is not a deprivation of due
process of law. But the right to a hearing includes the right to appear by
counsel. (Mendoza v. Small Claims Court (1958) 49 Cal.2d 668, 673 [321

[Dec. 1975]

Exhibit 5

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Case 14-50333-gs Doc 547 Entered 09/03/19 15:20:55 Page 59 of 79

200 VANN V. SHILLEH
54 C.A.3d 192; 126 Cal.Rptr. 401

 

P.2d 9].) (6) There is a constitutional basis for the right to counsel in
noncriminal proceedings and, in its narrowest definition, it is the right to
appear by counsel in any adversary proceedings in which the adversary
party has the benefit of the right to counsel. (Kallis v. Dept, of Motor
Vehicles (1968) 264 Cal.App.2d 373, 383 [70 Cal.Rptr. 595].) Therefore,
appellants were constitutionally entitled to counsel. However, in view of
our holding that we reverse on the grounds that the denial of the
continuance was an abuse of discretion, and in view of the fact that we
reverse on the grounds that Shilleh improperly represented Savoir, we
need not also decide whether the court denied to defendants a
constitutional right to due process of law.

The judgment is reversed.

Dunn, J., and Jefferson (Bernard), J., concurred.

[Dec. 1975]

Exhibit 5
Case 14-50333-gs Doc 547 Entered 09/03/19 15:20:55 Page 60 of 79

Exhibit 6

Exhibit 6

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Law Offices of
ALAN 8. SMITH
505 Ridge Street
Reno, Nevada 89501
(775) 786-4579

 

Case 14-50333-gs Doc 547 Entered 09/03/19 15-.20:55 Page 61 of 79
Case 14-0502@@@tb Doc 18 Entered 08/19/14 11: 1 Page i of 4

ALAN R. SMITH, ESQ.

Nevada Bar No. 1449

HOLLY E. ESTES, ESQ.

Nevada Bar No. 11797

Law Offices of Alan R. Smith

505 Ridge Street ELECTRONICALLY FILED
Reno, Nevada 89501 August 19, 2014
Telephone (775) 786-4579

Facsimile (775) 786-3066

Email: mail@asmithlaw.com

Attorney for Debtors/Defendants
ANTHONY THOMAS and WENDI

THOMAS
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA
—oo000—
In Re: Case No. BK-N-14-50333-BTB
Case No. BK-N-14-50331-BTB
ANTHONY THOMAS and
WENDI THOMAS, Chapter 11 Cases

[Jointly Administered]
AT EMERALD, LLC,

Debtors,

Adv. Pro. No. 14-05022
KENMARK VENTURES, LLC,

 

Plaintiff, AMENDED MOTION TO WITHDRAW
vs.
ANTHONY THOMAS and WENDI Hearing Date: OST Pending
THOMAS, Hearing Time: OST Pending

Defendants.

/
ALANR. SMITH, ESQ., of the Law Offices of Alan R Smith (hereinafter “Movant”),
moves this Court to allow him to withdraw as attorney of record for Debtors ANTHONY
THOMAS and WENDI THOMAS and Debtor AT EMERALD, LLC, (hereinafter “Debtors”),

 

in the above-entitled matter pursuant to Rule 166 of the Supreme Court Rules of the State of Nevada

 

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Law Offices of
ALAN R. SMITH
$05 Ridge Street
Repo, Nevada 689501
(775) 786-4879

 

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Case 14-0502 qb Doc 18 Entered 08/19/14 11:1 Page 2 of 4

and Nevada Rules of Professional Conduct 1.16. This Motion is made and based upon the following
Points and Authorities, and the pleadings and papers on file in this case.
POINTS AND AUTHORITIES

Supreme Court Rule of Professional Conduct 1.16, made applicable by Local Rule IA 10-
6(b) and (e), provides that:

No attorney may withdraw after appearing in a case except by
leave of Court after notice has been served on the affected client and
opposing counsel.

Movant has appeared on behalf of the Debtors in the above captioned matter and therefore
brings this Motion for leave to withdraw as their counsel of record. Movant’s withdrawal is not
expected to cause any delay in these proceedings.

Nevada Supreme Court Rule 1.16, made applicable by Local Rule 1A 10-6, provides as

follows:

(b) Except as stated in paragraph (c), a lawyer may withdraw
from representing a client if:

(1) withdrawal can be accomplished without material adverse effect on
the interests of the client;

(6) The representation will result in an unreasonable financial burden on
the lawyer or has been rendered unreasonably difficult by the client;
or

(7) Other good cause for withdrawal exists.

In the case, Debtors have failed substantially to fulfill various obligations to Movant as
specified in the agreement between those parties. Specifically, Debtors have refused to communicate
timely and effectively with Movant. Further, Movant and the Debtors have come to an impasse
regarding certain aspects of Movant’s representation that Movant believes cannot be overcome.
Movant believes that because of the difference of opinion as how best to proceed in this case, he can
no longer effectively represent the Debtors. As a result an adversarial relationship has developed,
and Movant has sought this withdrawal.

Movant believes that his withdrawal as counsel! for Debtors will not adversely affect Debtors.

 

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1 || Movant has provided reasonable written waming to Debtors of his intention to withdraw because
2 || of their failure to communicate and the disagreements between the parties. As a result, there is good
3 || cause for Movant’s withdrawal as counsel of record.
4 WHEREFORE, it is respectfully requested that this Court enter its order permitting the
5 ll immediate withdrawal of The Law Offices of Alan R. Smith, as attornies of record for the Debtors,
6 || and that all further pleadings and correspondence with regard to this matter be forwarded to Debtors
7 || at their last known address as follows:
8 AT Emerald, LLC
c/o Anthony & Wendi Thomas
9 7725 Peavine Peak Court
10 Reno, NV 89523
Anthony & Wendi Thomas
Il 7725 Peavine Peak Court
Reno, NV 89523
12
13
4 DATED this 19" day of August, 2014.
|
LAW OFFICES OF ALAN R. SMITH
15
16 /s/ Alan R. Smith
By
17 ALAN R. SMITH, ESQ.
Attorney for Debtor
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Law Offices of
ALAN R. SMITH
505 Ridge Street
Rrra) 6-4879 pet HAThomas\Adv. Thomas v Kenmark Ventures\Mot (Amd) WD 081914-lg. war . .
Exhibit 6

 

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Law Offices of
ALAN R. SMITH
505 Ridge Street
Reno, Nevada 89501
(778) 786-4579

 

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CERTIFICATE OF MAILING
Pursuant to FRCP 5(b), I hereby certify that I am an employee of the Law Offices of Alan
R. Smith, and that on this day I deposited for mailing at Reno, Nevada, and sent via email, a true and
correct copy of the attached document addressed as follows:

AT Emerald, LLC

c/o Anthony & Wendi Thomas
7725 Peavine Peak Court
Reno, NV 89523
atemerald2@gmail.com

wendithomas6(@gmail.com

Timothy A. Lukas, Esq.
Holland & Hart, LLP

5441 Kietzke Lane, 2™ Floor
Reno, NV 89511

tlukas@hollandhart.com

Kevin A. Darby, Esq.

Darby Law Practice, Ltd.
4777 Caughlin Parkway
Reno, NV 89519
kevin@darbylawpractice.com

Stefanie T. Sharp, Esq.

Robison, Balaustegui, Sharp & Low
71 Washington Street

Reno, NV &9503

ssharp@rbslilaw.com

Wayne A. Silver, Esq.
333 W. El Camino Real, Ste. 310
Sunnyvale, CA 94087

w_silver@sbcglobal.net

Amy N. Tirre, Esq.

Law Offices of Amy N. Tirre, APC
3715 Lakeside Dr., Ste. A

Reno, NV 89509

amy@amyttirrelaw.com

Joseph G. Went, Esq.

Holland & Hart, LLP

9555 Hillwood Drive, 2" Floor
Las Vegas, NV 89134

jgwent@hollandhart.com
Dated: August 19, 2014 By:

/s/ Debra L. Goss
Debra L. Goss, Employee

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Exhibit 6

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Exhibit 7

Exhibit 7

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Law Offices of
ALAN R. SMITH
585 Ridge Street
Rens, Nevads 89501
(775) 786-4879

 

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ALAN R. SMITH, ESQ.
Nevada Bar No. 1449

 

 

 

 

 

HOLLY E. ESTES, ESQ.
Nevada Bar No. 11797
Law Offices of Alan R. Smith
205 Rid e Street ELECTRONICALLY FILED
evada 89501 October 7, 2014
nen phone 775) 786-4579
Facsimile Cl 75) 786-3066
Email: mail@asmithlaw.com
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA
—o0000—
In Re: Case No. BK-N-14-50331-BTB
AT EMERALD, LLC, Chapter 7
FIN. TION BY
ATT 0 TOR TO
APPROVE COMPENSATION
Debtor, (ALAN R. SMITH)
Hearing Date: December 17, 2014
Hearing Time: 10:00 a.m.
Alan R. Smith, Esq., of the Law Offices of Alan R. Smith (hereinafter “Applicant”),

submits this first and final application for compensation for professional services rendered
and reimbursement of costs incurred pursuant to 11 U.S.C. § 330(a) (the “Application”).
This fee application is based on the entire case file, the points and authorities contained
herein, and any oral argument that the Court may entertain.

1. Applicant was the attorney for Debtor herein, and makes this first and final
application for an allowance of compensation for professional services rendered, and for
reimbursement for actual and necessary costs and expenses incurred by him in the
administration in the estate of AT EMERALD, LLC. In March, 2014, Debtor retained the
Law Offices of Alan R. Smith to provide bankruptcy advice and a Petition for Relief Under
Chapter 11 was filed on March 4, 2014 [DE 1]. The employment of the Law Offices of Alan

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1 { R. Smith, as counsel for Debtor was approved by the Court by order entered on March 27,
2 || 2014 [DE 19]. On May 12, 2014, the Court entered its Order Approving Motion For Joint
3 | Administration [DE 32], jointly administering the above-referenced case with the case of
4 || Anthony Thomas and Wendi Thomas, Case No. BK-N-14-50333-BTB. The withdrawal of
5 || employment of the Law Offices of Alan R. Smith, Esq., as counsel for Debtor was approved
6 || by the Court by Order entered on August 26, 2014 [DE 187]. On August 29, 2014, the Court
7 || entered its Order Granting Motion To Convert Case From Chapter 11 To Chapter 7 [DE 57].
8 2. All services for which compensation is requested by Applicant were performed
9 | for and on behalf of the Debtor and not on behalf of any committee, creditor, or other person,
10 || and were necessary to the administration of the Debtor’s estate. The services performed are
11 | summarized for the Court’s convenience as follows:
12 1] apPLICANT: ALAN R. SMITH, ESQ.,oF THE LAW OFFICES OF ALAN R. SMITH
13 |} TERMS OF EMPLOYMENT:
ALAN R. SMITH, ESQ. ATTORNEY .... 00sec e cece teeter eee eees $500/HOUR (ARS)
14 || HOLLY E. ESTES, ESQ. ATTORNEY ........-. ccc cece eee e ec eanees $300/HOUR (HEE
DEBRA L. GOSS, PARALEGAL .... ees e ec ecee rece econ ee eenes $150/HOUR (DLG
15 | | ROANNAM. BONALDI, LEGAL ASSISTANT .....2....0000eeeeeeres $130/H40UR (RMB
16] |
FIRST AND FINAL APPLICATION LEGAL $40,883.00
17 FEES
18 EXPENSES $1,518.03
19 TOTAL $42,401.03
20 PERIOD COVERED: MARCH 3, 2014TO SEPTEMBER 30, 2014
FEES & EXPENSES PREVIOUSLY REQUESTED: -0-
a1 FEES & EXPENSES PREVIOUSLY AWARDED: , -0-
22 || case STATUS: CHAPTER 11 VOLUNTARY PETITION FILED ON MARCH 4, 2014. CASE
3 CONVERTED TO A CHAPTER 7 ON AUGUST 29, 2014.
PROSPECT FOR PAYMENT OF FEE/COST AWARD: DEBTOR'S ESTATE SHOULD HAVE
24 || | SUFFICIENT FUNDS AVAILABLE TO PAY FEE /COST AWARD(S) FROM SALE OF EMERALD.
25 TASKS = HOURS - FEES - EXPENSES SUMMARY FOR APPLICATION
26 || TASKNO. WORK CATEGORY HOURS FEES
27 B110 | PRE-BANKRUPTCY / CASE ADMINISTRATION 60.10 |$ 16,188.00
38 B120 | ASSET ANALYSIS & RECOVERY 0.00 |$ 0.00
Law Offices of
ALAN R. SMITH
S05 Ridge Street
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Exhibit 7

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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1 B130 | ASSET DISPOSITION 62.%
2 B140 =| RELIEF FROM STAY PROCEEDINGS 0.00
3 B150 =| MEETING OF CREDITORS 0.00 | $
4 B160 | FEE/EMPLOYMENT APPLICATIONS 7.70 | $ J
5 B170 =| FEE/EMPLOYMENT OBJECTIONS 0.00 | $ 0.00
6 B210 =| BUSINESS OPERATIONS 160|/$ 208.00
B220 | EMPLOYEE BENEFITS/PENSIONS 0.00 | $ 0.00
7 B230 | FINANCING / CASH COLLATERAL 0.00 | $ 0.00
8 B235 | LEASES/ASSUMPTIONS/REJECTIONS 0.00 | $ 0.00
9 B310 | CLAIMS ADMINISTRATION & OBJECTIONS 7.40 }$ 2,220.00
10 B320 =| PLAN AND DISCLOSURE STATEMENT 0.00 | $ 0.00
11 B350 | POST-CONFIRMATION 0.00 | $ 0.00
12 TOTALS 139.70 | $ 40,883.00
B ITEMIZED EXPENSES
FILING FEES $ 1,216.60
4 PHOTOCOPIES $ 277.75
15 POSTAGE $ 7.68
16 FACSIMILE $ 0.00
17 PACER $ 0.00
18 AT&T CONFERENCE CALLS/LONG DISTANCE $ 0.00
19 MESSENGER SERVICES $ 0.00
ELECTRONIC RESEARCH LEXIS NEXIS $ 0.00
20 OTHER/RENO CARSON MESSENGER SERVICE $ 16.00
21 TOTAL EXPENSES $ 1,518.03
22 SUPPLEMENTAL LEGAL FEES $ 0.00
23 || TOTAL FEES AND EXPENSES INCURRED THIS APPLICATION $ 42,401.03
24 PREVIOUSLY AWARDED FEES AND COSTS $ 0.00
25 LESS PAYMENTS ({ REQUEST APPROVAL TO $ 5,000.00
APPLY)
26 SUBTOTAL FEE REQUEST AND COST $ 37,401.03
97 REIMBURSEMENT |
8 LESS COURTESY DISCOUNT/CREDIT $ 0.00
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Exhibi

 
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Law Offices of
ALAN R. SMITH
505 Ridge Street
Reno, Nevada 89501
(775) 786-4579

 

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TOTAL DUE $ 42,401.03

 

 

3. No previous orders have been entered by the Court approving compensation
to Applicant.

4. Applicant seeks compensation for the period March 3, 2014, through
September 30, 2014, for professional services rendered in the amount of $40,883.00 and
reimbursement of necessary costs and expenses incurred in the amount of $1,518.03 (for a
total of $42,401.03, less the pre-petition retainer of $5,000.00). Applicant seeks approval to
apply the monies held in Applicant’s trust account and paid by the Debtors pre-petition of
$5,000.00, leaving a balance due of $37,401.03. These services are more fully set forth in
the monthly billing statements (Exhibit “A”), billing task summary (Exhibit “B”), and cost
itemization (Exhibit “C”) attached hereto and incorporated herein.

5. The services provided by Applicant have been segregated into the following
categories and are summarized as follows:

(A) Pre-Ban tey / inistrati 00/B110

Applicant provided services in initiating Debtors’ Chapter 11 case and
strategizing with Debtors, communicating with the Office of the United States Trustee, and
advising Debtors in connection with preparation of Debtors’ Petition, Statements and
Schedules, amendments thereto, IDI documents and compliance with the U.S. Trustee’s
guidelines. Applicant also provided services with regard to the emerald, motions to convert,
dismiss, appoint a trustee, and compel. Applicant also provided services in withdrawing
from the case.

The time spent in connection with case administration is as follows:

Hours Fees
Alan R. Smith, Esq. 3.10 $1,550.00
Holly E. Estes, Esq. 41.40 12,420.00
Debra L. Goss, Paralegal 9.50 1,425.00
Roanna M. Bonaldi, Legal Assistant 6.10

793.00
60.10 $16,188.00

 

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Exhibit

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Law Offices of
ALAN R. SMITH
505 Ridge Street

Rena, Nevade 89501
(775) 786-4879

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Applicant provided services with regard to selling the asset of the Debtor, an

emerald.

The time spent in connection with asset disposition is as follows:

Hours Fees

Alan R. Smith, Esq. 14.00 $7,000.00
Holly E. Estes, Esq. 44.90 13,470.00 |
Debra L. Goss, Paralegal 1.00 150.00
Roanna M. Bonaldi, Legal Assistant 3.00 390.00

62.90 $21,010.00
(C) and Emplo Applications (B1

Applicant’s law firm has prepared an application to employ himself, as
Attorney for the Debtor-in-Possession, in addition to preparing this application for
compensation. |
The time spent in preparing the employment application (through September | .
30, 2014) is as follows:
Hours, _ Fees _

Holly E. Estes, Esq. 0.80 $240.00
Debra L. Goss, Paralegal 6.00 900.00
Roanna M. Bonaldi, Legal Assistant 0.90 117.00

7.10 $1,257.00
(D) Business ti 10
Applicant assisted the Debtor with matters concerning its monthly operating reports

and related issues. The time spent in connection with business operations is as follows:

Hours Fees
Roanna M. Bonaldi, Legal Assistant 1.60 $208.00

(E) aim ministrati 0

Applicant provided legal services to the Debtor in advising the Debtor
concerning the claim of John Beach. The time spent is as follows:
Mf
Mt

 

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Case 14-50331- s Doc 79 Entered 10/07/14 15:16:08 of 52

Page

_Hours. _ Fees _
Holly E. Estes, Esq. 7.40 $2,220.00

TOTAL FEES - All (139.70 hrs): $39,713.00 (Blended Rate: $292.65/hour)

A complete and detailed description of the legal services performed by Applicant are
set forth in the itemized billing statements attached hereto (Exhibit “A”).

6. Prior to filing of the petition (March 4, 2014), the Debtor paid to the Law
Offices of Alan R. Smith a retainer of $5,000.00 for commencement of the Chapter 11 case.
The payment is being held in Applicant’s trust account pending this Court’s order approving

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the requested attorneys’ fees and authorizing Applicant to apply the payment(s) to the
outstanding balance. Applicant has not entered into any agreement with any other person or

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entity for the sharing of compensation received or to be received in connection with the

services rendered in this case.

pws mt
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7. The rates of compensation of attorneys and supporting personnel agreed to by
the Debtor are as follows: Alan R. Smith, Esq. (“ARS”) - $500.00 per hour; Holly E. Estes,
Esq., (“HEE”) - $300 per hour; Debra L. Goss, Paralegal (“DLG”) - $150.00 per hour and
Roanna Bonaldi, Legal Assistant (“RMB”) - $130.00 per hour. Applicant believes that these
rates are within the normal hourly rates charged by other professionals and paraprofessional

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for the type of services involved in this case, and believes that the compensation sought
herein is reasonable.
8. Alan R. Smith, Esq. was admitted to the Nevada Bar in 1979.

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Law Offices of
ALAN R. SMITH
S05 Ridge Street
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Exhibit 7

 

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Law Offices of
ALAN R. SMITH
505 Ridge Street

Reno, Nevada 89502

(178) 186-4579

 

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WHEREFORE, Applicant requests that the Court enter its order approving and
awarding this first and final request for compensation for professional services rendered in
the amount of $40,883.00 and reimbursement of necessary costs and expenses incurred in the
amount of $1,518.03 (for a total of $42,401.03, less the pre-petition retainer of $5,000.00).
Applicant seeks approval to apply the monies held in Applicant’s trust account and paid by
the Debtor pre-petition $5,000.00, leaving a balance due of $37,401.03.

DATED this 7" day of October, 2014.

LAW OFFICES OF ALAN R. SMITH

By: /s/ Alan R, Smith
ALAN R. SMITH, ESQ.
Attorney for Debtor

 

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Exhibit “A”

Exhibit 7

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Apr-30-14

May-06-14

May-07-14

May-12-14

14-50333-gs DockSe¢

[Claims Administration] Draft email to Joe
Went re follow up on revised proposed stip
and order for adequate protection.

[Business Operations] Review March 2014
monthly operating report, redact confidential
information.

{Case Administration] Review email from Joe
Went re stipulation and order for adequate
protection; print attached revised stipulation.

{Claims Administration] Review most recent
draft stipulation and order with Beach Trust;

save draft; mark redline proposed changes to
same.

[Claims Administration] Draft email to Joe
Went and Tim Lukas copy clients re attached
redline proposed changes to most recent draft
of stip and order for adequate protection.

{Case Administration] Review OUST motion
to convert case to chapter 7 for not having
insurance.

[Case Administration] Review OUST Motion
to Designate Case As Small Business Case.

{Case Administration] Conference with Holly
E. Estes, Esq. re: hearing on Motion For Joint
Administration; Prepare Order Approving
Motion For Joint Administration for attorney
review; Finalize and lodge with Court.

{Case Administration] Draft email to Tony and
Wendi Thomas requestion information on trip
to Florida, immenant sale of the emerald and
information on Motion to convert case to

chapter 7.

[Case Administration] T/c with Tony Thomas
re Trip to Florida; discuss Joseph Went's
requested stipulation for adequate protection
and confirmation of trip and drop dead date for
trip to florida; Discuss potential sale of
emerald and OUST's motion to convert case to
one under chapter 7.

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May-13-14

May-30-14

Jun-04-14

Jun-10-14

[Claims Administration] Review email from
Joe Went re stipulation for adequate protection
and trip to Florida 5/25; Draft email to Tony
and Wendi Thomas requesting information on
trip to Florida and confirming 5.25 deadline.

{Claims Administration] Review email from
Joe Went re most recent form of draft adequate
protection stipulation and trip to Florida on

May 25; Review attached proposed stipulation.

(Claims Administration] Draft email to Joe
Went re his draft proposed stipulation for
adequate protection and trip to Florida on May
25; Discuss prior agreement of langauge for
trip to Florida in stipulation; outline requested
changed langauge that would be apreeable in
Stipulated agreement.

[Case Administration] Draft notice of entry of
order approving motion for joint
administration.

[Business Operations] Review April 2014
monthly operating report, redact confidential
information and finalize report.

[Case Administration] Review OUST motion
to convert case to chapter 7; draft email to
Tony and Wendi Thomas re t/c with Joesph
Went and need for trip to Florida with John
Beach; discuss stip to adequate protection and
John Beach's position as to insurance on the
emerald.

{Claims Administration] T/c with Joseph Went
re trip to Florida and stip for adequate
protection.

[Asset Disposition] Review Purchase
Agreement and comments re: same (.5); Work
On motion to approve sale (.7).

[Asset Disposition] Review email from Tony
Thomas re draft purchase agreement and
request for court approval.

[Asset Disposition] T/c with ARS re t/c with

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Jul-15-14

Jul-16-14

[Case Administration] T/c with Tim Lukas re
opposition to OUST motion to dismiss and
motion to convert case.

[Case Administration] t/c with Bill Cossitt re
continuing hearings on OUST motions to
convert and designate case.

[Case Administration] Call Linda Bowser and
Linda Duffy request new hearing date about
thirty days out for continued hearings on
OUST motions L/m.

[Case Administration] Draft stipuation to
continue hearing on OUST's motion to convert
case to chapter 7.

[Case Administration} Draft stipulation to
continue hearing on OUST's motion to
designate case smal] business case.

[Case Administration] T/c with Linda Bowser
re new hearing date on OUST's Motion to
Designate Case and OUST's motion to convert
case.

[Case Administration] Finalize stipulations to
continue hearings on OUST's motion to

designate case and OUST's motion to convert
by adding continued to hearing date and time.

[Case Administration] Review email from Bill
Cossitt re attached signatures on stipulations to
continue hearings; MTG with RMB requesting
filing stipulations and creating and lodging
orders thereon.

[Asset Disposition] Review email from Tim
Lukas requsting up date on sale; draft reply
email re same.

[Asset Disposition] Draft email to Tony
Thomas requesting information on sale of
emerald; status.

[Case Administration] Draft order approving
stipulation to continue hearing on US
TRustee's motion to designate case as small
business.

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Exhibit 7
Invoice #:

Jul-17-14

Jul-18-14

Jul-21-14

[Case Administration] Draft order approving
stipulation to continue hearing on US Trustee's
motion to convert case to chapter 7.

[Case Administration] Review June clinet
billing statement; mark corrections to be made.

[Case Administration] Review email from
Joseph Went re request for hearing on
shortened time to drill lock on Sarasota vault
storing emerald, draft reply stating do not
agree to shortened time and believe the motion
is premature.

{Case Administration] Draft email to Tony
Thomas requesting information as to whether
he will be available to take a trip to Florida on
August 12 to open vault for 2004 PMK
examination.

[Asset Disposition] Draft email to Tony
Thomas requesting update on sale; draft email
to Tony Thomas requesting status update and
reminder of upcoming status hearing on sale of
emerald; request update and status report by
Friday July 18, 2014.

[Case Administration] Draft certificate of
service for stipulation to continue hearings on
US Trustee's objections to debtor's claims of
exemptions and US Trustee's motion to
designate case as small business case.

{Asset Disposition] Strategize with Holly E.
Estes, Esq. re: sale.

[Asset Disposition] Draft follow up email to
Tony Thomas requesting status update for
scheduled status hearing on motion to sel! the
emerald,

[Asset Disposition] Mtg with ARS to discuss
status hearing on sale today; draft email to
Tony Thomas re risk of trustee; need status
update; Call Tony to request update and report
possible trustee if no progress to report; L/M
re same,

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Jul-22-14

Jul-23-14

[Asset Disposition] Prepare for and attend
status hearing on motion to sell; give court
status report; discuss changes to be made to
order; continue hearing ten days.

[Asset Disposition] Revise order on motion to
sel] consistent with the Judge's request in open
court at the status hearing today.

[Asset Disposition] Draft email to Wayne
Silver requesting reivew and sign revised order
on motion to sell. attach same for review.

[Case Administration] Organize attny notes
from hearings on motion to sell.; [Asset
Disposition]

{Asset Disposition] Review reply email from
Wayne Silver re signed revised proposed order
on motion to sell; Scan and save; Lodge order
with court; Call Linda Bowser to inform her
that new order should be in her inbox for judge
to review and sign.

[Asset Disposition] Draft email to Tony
Thomas explaining what occurred at continued
hearing today and informing him of continued
hearing date on motion to sell.

[Case Administration] Draft email to RMB
requesting to find correspondce to vault re
emerald and further order of the court.

[Asset Disposition] Review email from Tony
Thomas re sale of emerald; buyer traveling last
week; to hear this week on when purchase to
close; draft reply re same.

[Case Administration] Draft notice of entry of
order approving stipulation to continue hearing
on US Trustee's Motion To Designate Case As
Small Business.

[Case Administration] Draft notice of entry of
order approving stipulation to continue hearing
on US Trustee's motion to convert case to
chapter 7.

[Case Administration] Review motion to

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CERTIFICATE OF SERVICE

| Paul S. Mula II certify that | am an adult, over the age of 18 years, not a party to the
action herein who resides in Santa Clara County, California. On August 26" 2019 | caused to
be served the following documents via e-mail to the following persons as listed below from my
e-mail address of pauly_p_ 78@yahoo.com as follows:

DOCUMENTS SERVED:
DECLARATION OF ANTHONY THOMAS; REPLY BRIEF

as follows:

JEFFREY A. COGAN

jeffrey@jeffreycogan.com, beautausinga@gmail.com, beau@jeffreycogan.com
JERI COPPA-KNUDSON VIA E-MAIL & US MAIL: 3495 Lakeside PMB 62 Dr. Reno,
NV 89509

renobktrustee@gmail.com, jcoppaknudson@ecf.episystems.com

KEVIN A. DARBY

kad@darbylawpractice.com, tricia@darbylawpractice.com, jill@darbylawpractice.com,
hersh@darbylawpractice.com, sam@darbylawpractice.com

JEFFREY L. HARTMAN VIA E-MAIL & US MAIL: 510 W. Plumb Lane Suite B - Reno,
NV 89509

notices@bankruptcyreno.com, sji@bankruptcyreno.com

TIMOTHY A. LUCAS

ecflukast@hollandhart.com

LAURY MILES MACAULEY

laury@macauleylawgroup.com

WILLIAM MCGRANE

ECF-81 16edf28c97@ecf.pacerpro.com, mitch.chyette@mcgranellp.com
STEPHANIE T. SHARP

ssharp@rssblaw.com, cobrien@rssblaw.com

WAYNE A. SILVER

w_silver@sbcglobal.net, ws@waynesilverlaw.com & VIA U.S. MAIL:

643 Bair Island Rd. Suite 403 - Redwood City, CA 94063

ALAN R. SMITH

mail@asmithlaw.com

STEVEN C. SMITH

ssmith@smith-lc.com, mbrandt@smith-lc.com

AMY N. TIRRE

amy@amytirrelaw.com, admin@amytirrelaw.com

U.S. TRUSTEE - RN - 7,7

USTPRegion17.RE.ECF@usdoj.gov

JOSEPH G. WENT

jgwent@hollandhart.com, vilarsen@hollandhart.com

| declare under penalty of perjury that the foregoing is true and correct. = -

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Dated: August 26" 2019.

 
